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EXHIBIT A
Return Date: No return date scheduled

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12-Person Jury

Hearing Date: 12/27/2019 10:00 AM - 10:00 AM
Courtroom Number: 2410

Location: District 1 Court
Cook County, IL

FILED DATE: 8/29/2019 11:30 AM 2019CH10028

FILED
8/29/2019 11:30 AM
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS —§ DOROTHY BROWN

CIRCUIT CLERK
COUNTY DEPARTMENT, CHANCERY DIVISION COOK COUNTY. IL

2019CH10028
TCC WIRELESS, LLC, a Delaware limited
Liability company, 6380209
Plaintiff, Case No.: 2019CH10028
v.

Jury Demand
Kenneth Siller, an individual,

Defendant.

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VERIFIED COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

TCC Wireless, LLC (“TCC Wireless”), through its undersigned counsel, complains
against Defendant Kenneth Siller as follows:

The Parties

I. TCC Wireless is a Delaware limited liability company, with its principal place of
business in Illinois. Therefore, TCC Wireless is a citizen of Illinois.

2. Defendant is an individual who resides in the State of New York. Defendant
continuously and systematically entered the State of Illinois to transact business, among other
things, by traveling to Illinois on numerous occasions in connection with the contracts and
business relationships more fully described below.

3. Defendant consented to exclusive jurisdiction and venue in Illinois.

4, This Court has jurisdiction over Defendant pursuant to 735 ILCS 5/2-209
because, among other things, Defendant operates business in Cook County, Illinois and the
parties entered into a contract or promise substantially connected to Illinois. Additionally,
Defendant consented to exclusive jurisdiction and venue in Ilinois and during his employment

with TCC Wireless conducted business in Cook County.

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5. Venue is proper in this Court pursuant to 735 ILCS 5/2-101 because Defendant is
a nonresident of the State of Illinois.

General Allegations

6. TCC Wireless is an authorized independent dealer for T-Mobile, USA, Inc. TCC
Wireless has retail stores that sell both cellular phones and related accessories and cellular phone
plans, among other things, for T-Mobile.

7. The geographic scope of TCC Wireless’ business is expansive. TCC Wireless has
offices and retail stores in Illinois, as well as thirteen other states throughout the country. TCC
Wireless’ market encompasses retail stores in the following states: Connecticut, Florida,
Georgia, Illinois, Indiana, Jowa, Massachusetts, New York, New Jersey, Ohio, Pennsylvania,
Rhode Island, South Carolina and Wisconsin.

8. The wireless and cellular phone industry is very competitive. Several companies
compete with TCC Wireless in the very same market for the same customers and the same sales
channels. Moreover, TCC Wireless’ success depends heavily on its ability to identify, negotiate,
and lease retail space that is favorable for the operation of its business, and to identify
appropriate markets for penetration. For these reasons, executives within the cellular phone
retail industry are particularly competitive, as retail operators are constantly seeking information
regarding expansion and market opportunities.

9. TCC Wireless spends substantial resources of time and hundreds of thousands of
dollars to develop, cultivate and retain favorable relationships with its customers, to identify
valuable market space, and to identify potential opportunities for business growth.

10. On or about December 1, 2016, TCC Wireless hired Defendant as its Senior Vice

President of Sales and Marketing. In that position, Defendant was in charge of all of TCC

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Wireless’ sales and marketing strategies and strategic goals in growing its business, including
overseeing 1,500 employees.

11. In connection with Defendant’s employment with TCC Wireless, Defendant
signed and agreed to the terms of an Employment Agreement. The Employment Agreement is
attached as Exhibit A. Defendant negotiated the terms of the Employment Agreement with TCC
Wireless.

12. Pursuant to the terms of the Employment Agreement, Defendant acknowledged
that he fully understood the contents of the Employment Agreement and was encouraged to seek
independent legal counsel before he voluntarily executed the Employment Agreement.
(Employment Agreement 4 15(g), Ex. A.)

13. The Employment Agreement contains, among other things, a non-compete
provision, which provides, in relevant part:

[D]uring the period commencing on the Effective Date [December 1, 2016] and

ending upon the expiration of one (1) year from the date that Executive ceases to

be employed by the Company or any of its Affiliates for any reason (the

“Covenant Period”), engage, or compete with any Protected Party, in the

Business, or any facet of the Business anywhere within the United States of

America, as an employee, independent contractor or otherwise;

(Employment Agreement § 7(a)(i), Ex. A.) The “Business” is further defined as “operating
wireless phone stores and the sale of wireless phones, accessories and related products and
services, as the Company determines from time to time (all such activities and services provided
by the Company and any and all other businesses and operations in which the Company may
hereafter engage).” (/d., Recitals(A), Ex. A.)

14. The non-compete provision of the Employment Agreement is reasonable as to the

duration, geographic area and line of business that TCC Wireless now seeks to protect. The non-

compete provision is designed to protect TCC Wireless’ reasonably competitive business

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information, including confidential information relating to its finances and business performance,

employee compensation structure, employee commission structure, information regarding TCC

Wireless’ proprietary operational technology platform, sales strategies, business plans,

operations, market strategies, and strategies for growth and sales, including plans for target

acquisitions.

15.

The Employment Agreement also contains a non-solicitation provision, which

provides, in relevant part, as follows:

ili,

during the Covenant Period divert from any Protected Party, or by aid of

others, do anything which would cause diversion from any Protected Party, of any
business with any Customer or supplier with which such Protected Party has any
contact or association in connection with the business; or

iv.

during the Covenant Period, solicit, induce or attempt to induce, either

directly or indirectly, any employee or independent contractor of any Protected
Party, (A) to change his, her or its contractual relationship with any Protected
Party, (B) to leave the employment of or terminate his, her or its contractual
relationship with any Protected Party, or (C) enter into the employ of or a
contractual relationship in which Executive [Siller] has any interest whatsoever,
or any competitor of any of the Protected Parties.

(Employment Agreement § 7(a), Ex. A.)

16.

The Employment Agreement contains, among other things, a confidentiality

provision that defines Confidential Information as follows:

In order to facilitate the provision of Executive’s [Siller’s] services to the
Company [TCC Wireless] under this Agreement, the Company has disclosed and
will disclose information it considers proprietary and confidential. This
information may include, without limitation: (a) business financial, marketing and
operational plans; (b) forecasts and projections; (c) sales plans and data; (d)
information which relates to the Company’s proprietary products, prototypes or
plans; (e) customer lists and information; (f) the Company’s listing information;
and (g) other information whether or not identified as confidential of a
confidential and non-public nature (collectively “Confidential Information”);
provided, however, that Confidential Information shall not include any
information: (x) prior to the Effective Date, was generally publicly available; (y)
becomes publicly available without fault of or action on the part of Executive; or
(z) is acquired by Executive following the cessation of employment with, or as a

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member of, the Company from a third party (other than a Protected Party), free
from any restrictions as to its disclosure.

(Employment Agreement { 9, Ex. A.)

17. The Employment Agreement’s confidentiality provision requires Defendant to
safeguard TCC Wireless’ Confidential Information. The Employment Agreement provides, in
that regard, as follows:

(a) Executive agrees to hold Confidential Information in the strictest
confidence. Executive will not disclose the Confidential Information to a third

party;
(b) Executive will not, at any time, use Confidential Information in

any fashion, form, or manner, except to facilitate the provision of services by
Executive on behalf of the Company;

(c) Confidential Information may not be copied or reproduced without
the Company’s prior written consent;

(d) | Confidential Information shall at all times remain the sole property
of the Company. Executive shall have no license, ownership rights, or any other

rights or interests in the Confidential Information. Confidential Information

disclosed by the Company, including any copies thereof, shall be returned to the
Company by Executive upon request by the Company; provided, however, that
upon termination of this Agreement, Executive shall return any Confidential
Information within ten (10) days of such termination, without any request by the
Company necessary or required.

(Employment Agreement § 9, Ex. A.)

18. By signing the Employment Agreement, Defendant agreed that the restrictions set
forth in the restrictive covenant provisions of the Employment Agreement, among others, are
“reasonable and valid in geographical and temporal scope and in all other respect.”
(Employment Agreement J 7(c), Ex. A.)

19. As the Senior Vice President of Sales and Marketing, Defendant was in a position
where TCC Wireless shared with him and he otherwise acquired confidential and proprietary

information regarding, among other things, the following:

(a) its finances and business performance. Defendant received, among other

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things, regular financial reports on sales, earnings, business margins, employee
compensation structures, employee commission structures, as well as details on TCC
Wireless’ proprietary operational technology platform;

(b) its business plans including, but not limited to, information regarding TCC
Wireless’ growth and sales strategy, including but not limited to TCC Wireless’ plans to
target acquisitions in the next several years; and

(c) TCC Wireless’s sales strategies, the performance of many of its retail
stores through the country, including performances of individual employees.

20. TCC Wireless relied on Defendant’s agreement to be bound by the terms of the
Employment Agreement is sharing its Confidential Information with him.

21, As the Senior Vice President of Sales and Marketing, Defendant worked with
TCC Wireless’ customers and sales channels with whom TCC Wireless maintains relationships
nationwide.

22. During the course of Defendant’s employment with TCC Wireless, he became
familiar with, among other things, the manner in which TCC Wireless operates, and its sensitive
information regarding its business such as its compensation structures, employee commission
structure and payouts, proprietary operational technological platform, employment strategies,
strategic growth plans, sales volumes, business profitability, weaknesses, as well as sales goals
and targets, which apply to its stores nationwide.

23, Defendant was hired because of his background in the cellular phone industry.
Recognizing that he would bring unique talent to TCC Wireless in a way to expand its business,
TCC Wireless provided Defendant with a $120,000 signing bonus and one of the highest salaries

in the business, averaging from $400,000-$450,000 per year. In turn, Defendant agreed to an

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Employment Agreement that contained restrictive covenants, which were negotiated between the
parties. Based on these covenants, TCC Wireless introduced Defendant to its proprietary and
unique internal operations, software and back office operations.

24. Effective on or about August 5, 2019, Defendant voluntarily resigned from his
position as Senior Vice President of Sales and Marketing for TCC Wireless.

25. On or about August 22, 2019, Defendant became employed with Express Stores,
which is a direct competitor of TCC Wireless. (See Announcement, Ex. B.) Like TCC Wireless,
Express Stores is an authorized independent dealer for T-Mobile, USA, Inc. and is in the
business of selling sell both cellular phones and related accessories and cellular phone plans,
among other things, for T-Mobile in many of the exact markets in which TCC Wireless operates
its business and retail stores. Defendant did not choose another wireless carrier (e.g., non-T-
Mobile) or even a T-Mobile dealer outside the markets in which TCC Wireless operates.

26. Defendant is now representing Express Stores in competition with TCC Wireless,
immediately after and within a one-year period of terminating his employment with TCC
Wireless.

27. On or about August 22, 2019, in violation of the non-solicitation provision in the
Employment Agreement, Defendant, directly or indirectly, solicited Michael Erra, an employee
of TCC Wireless to terminate his employment with TCC Wireless and to commence
employment with Express Stores.

28. TCC Wireless entered into the Employment Agreement containing the above
provisions to protect its interest in its Confidential Information and to protect its interest in its
customers. TCC Wireless also entered the Employment Agreement to protect its employment

workforce from the possible poaching of employees with confidential information, to protect the

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costs associated with recruiting and hiring employee, to ensure a stable workforce necessary to
ensure the stable growth of its business, and to prevent an en masse of resignations. Based on
these covenants, TCC Wireless introduced Defendant to the rest of its management team,
regional managers, district managers, and sales representatives. TCC Wireless has a protectable
interest in enforcing the terms of the non-compete, non-solicitation and confidential provisions
of the Employment Agreement.

29, The Confidential Information and knowledge Defendant currently retains are part
of his thoughts and mental impressions, and, upon information and belief, his continued work
with Express Stores creates the likelihood of the inevitable disclosure of the Confidential
Information that are necessary and permanently maintained as part of his thoughts and mental
impressions. Defendant cannot help but use his knowledge of TCC Wireless’ compensation and
commission structures, employment strategies, the proprietary operational technology platform,
his knowledge of planned acquisition and market strategies, and his knowledge of existing
products. Even if Defendant were to agree not to disclose any of this information, such an
agreement would be completely ineffective because the Confidential Information acquired by
Defendant during his employment by TCC Wireless is exactly the type of information that any
sales manager needs and must use to effective compete in the retail cellular phone industry.

30. Express Store’s employment of Defendant further threatens to, and will inevitably
result in the disclosure of TCC Wireless’ Confidential Information. As a former Vice President
of Sales and Marketing, virtually all of TCC Wireless’ Confidential Information will assist
Defendant in targeting markets, targeting employees and will enable Defendant to directly

compete with TCC Wireless.

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31. Defendant agreed that in the event that he violated the restrictive covenants,
among other things, TCC Wireless would be entitled to injunctive relief (Employment
Agreement Jf 7(c), 10, Ex. A.) The Employment Agreement provides:

Specific Performance. In the event of a breach or attempted breach of any of the

covenants set forth in Section 7, Section 8 or Section 9, in addition to any and all

legal and equitable remedies immediately available, such covenants may be

enforced by a temporary and/or permanent injunction. The parties agree that the

remedy at law for a breach or threatened breach of any of the covenants set forth in

Section 7, Section 8 or Section 9 would be inadequate.

(Employment Agreement ] 10, Ex. A.)

32. Defendant has previously revealed Confidential and proprietary information
during the course of his employment in July 2018, when he met with senior management of T-
Mobile and a prospective new partner in the T-Mobile dealer channel and disclosed confidential
operational and financial information of TCC Wireless without its consent. TCC Wireless is
rightfully concerned that Defendant will continue to disclose its Confidential Information now

that he is no longer employed with the Company.

COUNTI
Breach of Contract

33. | TCC Wireless incorporates the allegations contained in paragraphs | through 32
above as if full restated herein.

34. The Employment Agreement is a valid and enforceable agreement.

35. By signing the Employment Agreement and accepting the consideration offered,
Defendant agreed to be bound by, among other things, reasonable non-compete and non-

solicitation covenants and to never disclose any Confidential Information.

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36. By working for Express Stores after and within a one-year period after
terminating his employment with TCC Wireless, Defendant has breached the non-compete
provision of the Employment Agreement.

37. By soliciting an employee of TCC Wireless to leave his employment with TCC
Wireless to work for Express Stores, Defendant has breached the non-solicitation provision of
the Employment Agreement.

38. | As an employee of Express Stores, Defendant already has breached the terms of
the reasonable non-compete and non-solicitation provisions in the Employment Agreement, and
it is inevitable that he will continue to breach the Employment Agreement in a number of ways,
including, but not limited to, his continued employment and work with Express Stores, providing
confidential information to Express Stores, and soliciting or otherwise influencing and inducing
(whether directly or indirectly) TCC Wireless employees to leave their employment with TCC
Wireless to work for Express Stores, and soliciting or otherwise influencing and inducing
(whether directly or indirectly) TCC Wireless’s customers to do business with Express Stores
instead of with TCC Wireless.

Injunctive Relief

39. TCC Wireless incorporates paragraphs 1 through 38 above as if fully restated
herein in support of its request for injunctive relief.

40. TCC Wireless took reasonable efforts to maintain its secrecy of its Confidential
Information, which provide actual and expected economic value to TCC Wireless.

41. Defendant’s work for and/or employment with Express Stores has, upon
information and belief, caused and will continue to cause, TCC Wireless irreparable injury and

financial damage by knowingly, unlawfully taking and utilizing TCC Wireless’s Confidential

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Information and trade secrets and knowingly exploiting that information to his own advantage
and the advantage of Express Stores. TCC Wireless has been damaged and will continue to be
damaged in the form of lost competitive position and advantage, potential loss of employees,
potential lost customers, revenue, and good will and other immeasurable, unquantifiable and
irreparable injuries.

42. Defendant will, upon information and belief, either knowingly or through
inevitable disclosure of his knowledge of TCC Wireless’s trade secrets and Confidential
Information continue to unlawfully exploit TCC Wireless’s Confidential Information and trade
secret information unless enjoined by this Court.

43. The damage to TCC Wireless resulting from Defendant’s misappropriation of
Confidential Information and trade secrets will be difficult to quantify and, in all likelihood, will
be impossible to qualify with precision.

44. TCC Wireless is entitled to an order commanding Defendant, and any other
person acting together or in concert with him who possesses any document, record of
information of TCC Wireless, or any information derived therefrom, to return any and all
documents, records and data to TCC Wireless.

45. | TCC Wireless is further entitled to any injunction preventing the continued actual
or threatened misappropriation, use and disclosure of Confidential Information and trade secrets
obtained through or derived from Defendant’s theft.

46. The value of the Confidential Information to be protected, although difficult to
quantify monetarily, exceeds the value of $75,000. TCC Wireless spent hundreds of thousands

of dollars developing its products, strategies and customers. Moreover, the loss of only a few of

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its customers would exceed the value of $75,000. The value of the business managed by
Defendant exceeded $1 million.

47, Monetary damages alone are insufficient to prevent continuing and ongoing
damage and harm to TCC Wireless if Defendant continues his work and/or employment for
Express Stores in violation of the Employment Agreement as set forth herein and TCC Wireless
has no adequate remedy at law for Defendant’s breaches of contract, misappropriation of
Confidential Information and trade secrets because TCC Wireless invested a significant amount
of time, money and energy to establish and foster its relationship with its customers and
employees. The destruction of one’s business relationship has long-term consequences because
these relationships evolve over many years of development resulting in increased business and
revenue over the life of the relationship. Consequently, the damage suffered by TCC Wireless is
difficult to calculate because it cannot be clearly determined how much revenue any specific
relationship would have created.

48. If Defendant is permitted to continue to work for a competitor in violation of his
non-compete and to continue to solicit TCC Wireless employees and use TCC Wireless’s
Confidential Information and trade secrets, TCC Wireless will suffer additional irreparable harm.

49. TCC Wireless is justifiably concerned that any additional actions by Defendant
will have tremendous impact on its goodwill, reputation and business.

50. TCC Wireless is entitled to injunctive relief specifically prohibiting Defendant
from working for Express Stores and from using information he learned and had access to while
employed at TCC Wireless.

51. Equities favor granting TCC Wireless an injunction. TCC Wireless has complied

with all material terms of the Employment Agreement. Defendant, on the other hand, has

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violated, is violating, and will continue to violate the non-compete provision of the Employment
Agreement by working for Express Stores.

WHEREFORE, Plaintiff TCC Wireless, LLC requests that judgment be entered in its
favor and against Defendant Kenneth Siller, as follows:

(A) An injunction temporarily, preliminarily, and permanently prohibiting Defendant
during the period ending August 5, 2020 from working for any competitor of TCC Wireless,
LLC, including Express Stores, in the following states: Connecticut, Florida, Georgia, Illinois,
Indiana, lowa, Massachusetts, New York, New Jersey, Ohio, Pennsylvania, Rhode Island, South
Carolina, and Wisconsin, and any other state in which TCC Wireless may engage within the
restrictive period;

(B) An injunction temporarily, preliminarily, and permanently prohibiting Defendant
during the period ending August 5, 2020 from soliciting, inducing or attempting to induce, either
directly or indirectly, an employee or independent contractor of TCC Wireless, LLC to change
his, her or its contractual relationship with TCC Wireless or to enter into the employ of or a
contractual relationship with Defendant, or an entity in which Defendant has an interest, or of
any competitor of TCC Wireless, LLC;

(C) — An injunction temporarily, preliminarily, and permanently prohibiting Defendant
during the period ending August 5, 2020 from diverting from TCC Wireless, LLC, or by aiding
others, doing anything which would cause diversion from TCC Wireless, of any business with
any past or present customer or supplier of TCC Wireless, LLC with whom Defendant had any
contact or learned of during his employment;

(D) An injunction temporarily, preliminarily, and permanently prohibiting Defendant

from using or disclosing any of TCC Wireless, LLC’s Confidential Information;

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(E) Damages to be proven a trial in the amount in excess of $75,000 to which TCC

Wireless, LLC may be entitled; and

(F) | Awarding such other and further relief that TCC Wireless may be entitled, to the

extent permitted by applicable law, including its costs.

Date: August 29, 2019

Louis L. Phillips

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248.351.3000
parendiajaffelaw.com

Attorneys for TCC Wireless, LLC

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Respectfully submitted,

TCC WIRELESS, LLC

By: /s/ Louis J. Phillips
One of its attorneys
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VERIFICATION

I, Eric S. Tarasievich on behalf of TCC Wireless, LLC, do swear and affirm as follows:

 

Under penalties as provided by law pursuant to Sectén
Procedure, the undersigned certifies that the statements se

true and correct, except as to matters therein stated to bé gh info, ation and belief and as to such
matters the undersigned certifies as aforesaid that he

   
 

Dated:_August 29, 2019

 

YY , on behalf of TCC
Wireless, LLC

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EXHIBIT A
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EMPLOYMENT AGREEMENT

THIS EMPLOYMENT AGREEMENT (the "Agreement”) is made and entered into as of
December 1, 2016 (the "Effective Date") by and between TCC WIRELESS, LLC, a Delaware

limited liability company (the "Company"), and KENNETH SILLER ("Executive").
RECITALS:

A. The Company is engaged in the business of operating wireless phone retail stores and
the sale of wireless phones, accessories and related products and services, as the Company
determines from time to time (all such activities and services provided by the Company and any
and all other businesses and operations in which the Company may hereafter engage are
collectively hereinafter referred to as the “Business”) to various individual and company

customers of the Company (collectively, the “Customers”.

 

B. The Company wishes to employ Executive as the Company's Senior Vice President-
Sales and Marketing and desires to enter into an agreement with him setting forth the terms of

such a relationship.

C. Executive has the knowledge, experience and expertise to serve in such capacity and
desires to accept such employment with the Company on the terms and subject to the conditions

set forth below,
AGREEMENTS:

NOW, THEREFORE, for good and valuable consideration, the receipt and adequacy of
which are hereby acknowledged, the parties agree as follows:

1. Employment. Subject to the terms, covenants and conditions set forth in this
Agreement, the Company hereby agrees to employ Executive as the Company’s Senior Vice
President-Sales and Marketing. and Executive hereby accepts employment with the Company as
its Senior Vice President-Sales and Marketing.

2. Term. Subject to the termination provisions set forth in Section 5 below, the term
of Executive's employment with the Company under this Agreement shall commence on the
Effective Date and shall continue until the first anniversary of the Effective Date (the “Initial
Term"). At the conclusion of the Initial Term and any Renewal Term (as defined below)
thereafter, and unless terminated earlier, this Agreement shall automatically extend for an
additional one (1) year period, unless either party gives the other party written notice at least 60
days prior to the end of the then-current term of such party's intention not to renew this
Agreement for the following annual period (each a "Renewal Term" and, collectively with the

Initial Term, the "Term'").

 

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3. Capacity and Performance. Throughout the Term of this Agreement:

(a) Executive shall serve the Company as its Senior Vice President-Sales and
Marketing on a full-time basis and shall perform such acts, duties and responsibilities
consistent with his position on behalf of the Company, as are customarily done and
performed by individuals holding such position in companies in similar businesses and of
similar size to the Company, and such other duties as may be designated from time to
time by the Company’s Chief Executive Officer or Chief Financial Officer, to whom the
Executive shall regularly report. The expenditure of reasonable amounts of time by
Executive for personal, charitable or investment activities shal! not be deemed a breach of
this Agreement, provided that such activities do not interfere with the services required to
be rendered by Executive under this Agreement and are not contrary to the interests of the

Company.

(b) Executive shall devote his full business time and his reasonable best
efforts, business judgment, skill and knowledge exclusively to the advancement of the
business and interests of the Company and to the discharge of his duties and
responsibilities hereunder.

4. Compensation and Benefits. As compensation for all services performed by
Executive under this Agreement and during the Term:

(a) Base Salary. As compensation for the services to be performed under this
Agreement, the Company shall pay to Executive, during the Term, an annual salary (the
“Base Salary”) at the rate of $245,000.00 per annum, less applicable deductions, payable
in accordance with the Company’s usual payroll practices.

(b) Monthly Performance Bonus. For each calendar month, commencing with
December 2016, Executive shall be eligible to receive a monthly performance bonus (a
“Performance Bonus”) as follows:

i. Executive shall receive a Performance Bonus in the amount set forth on
the attached Schedule A corresponding to the applicable Traffic
Conversion Percentage for such month (for purposes hereof, “Traffic

Conversion Percentage” means the traffic conversion percentage for the
Company on a consolidated basis as reported by T-Mobile’s Sharepoint

System).

ii. In addition to any Performance Bonus earned under subsection i. above,
Executive shall receive a $2,500 Performance Bonus for each month in
which the Company achieves at least 125% of the Key Sales Objectives

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No. 1 (KSO #1) established by T-Mobile for such month (as determined
by T-Mobile through its DCS system and final commission report for such
month) and Executive shall receive a $2,500 Performance Bonus for each
month in which the Company achieves at least 125% of the Key Sales
Objectives No. 2 (KSO #2) established by T-Mobile for such month (as
determined by T-Mobile through its DCS system and final commission
report for such month).

iii. Any earned Performance Bonus shall be paid in accordance with the
Company’s usual bonus/commission pay practices (typically within 60
days after the end of the calendar month for which the Performance Bonus

was eared).

iv. Executive must be employed by the Company on the payment date to
receive any Performance Bonus.

(c) One-Time Signing Bonus. The Company shall pay Executive a one-time
signing bonus of $120,000.00, which shall be payable in equal quarterly increments of
$30,000.00 (less applicable deductions) within fifteen (15) days after the beginning of
each calendar quarter occurring in 2017.

(d) Paid Vacation Off. During the Term, Executive shall be entitled to four
weeks of paid vacation off annually, to be taken at such times and intervals as shall be
determined by Executive, subject to the reasonable business needs of the Company.

(e) Business Expenses. During the Term, the Company shall pay or reimburse
Executive for reasonable, customary and necessary business expenses incurred or paid by
him in the performance of his duties and responsibilities hereunder, subject to such
reasonable substantiation and documentation as may be specified by the Company from

time to time.

(fy Other Benefits. During the term hereof, Executive shall be entitled to
participate in any and all employee benefit plans generally available from time to time to
senior management level employees of the Company (and for which Executive qualifies
under the terms of the plans). The Company may alter, modify, terminate, add to or
discontinue the employee benefit plans that are from time to time in effect for its
employees generally at any time as it, in its sole judgment, determines to be appropriate,
without recourse by Executive.

5. Termination.

(a) Termination upon Death or Disability. Executive's employment under this
Agreement shall terminate automatically upon Executive's death or if Executive becomes
Disabled. For purposes of this Agreement, Executive shall be deemed to be "Disabled" if
Executive becomes unable to perform the essential functions and responsibilities of his

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position with reasonable accommodation, as required under the Americans with
Disabilities Act, as the same has and may be amended (the "ADA"), by virtue of physical
or mental disability, as defined under the ADA.

(b) Termination _by the Company for Cause. During the Term, the Company
may immediately terminate this Agreement for “Cause.” For purposes of this Agreement,
“Cause” shall mean, in each case as determined by the Company:

i,  Executive’s material breach of any of the terms, provisions or
covenants contained in this Agreement which, after written notice from
the Company of such breach, has not been cured within thirty (30) days

after he receives such notice;

ii.  Executive’s conviction of or plea of guilty or nolo contendere to a
felony, misdemeanor or other crime that either (A) involves moral
turpitude, dishonesty, fraud, theft, embezzlement, or financial
impropriety or (B) provides for a term of imprisonment,

iii, Executive’s commission of any act or omission constituting
misappropriation, unethical business conduct, disloyalty or breach of
fiduciary duty which is injurious to the Company, the specific nature of
which shall be set forth in a written notice by the Company to

Executive;

iv. Executive's failure to adequately perform his duties, or failure to
follow the reasonable instruction of the Company, which after written
notice from the Company of such failure, has not been cured within
thirty (30) days after he receives such notice;

y.  Executive’s misappropriation of funds or assets of the Company, or

vi. Executive fails to earn any Performance Bonus during a period of at
least three (3) months in any consecutive twelve (12) month period.

(c) Termination by Executive for Good Reason. Executive may terminate his
employment for Good Reason provided that (i) Executive has provided the Company
with thirty (30) days’ prior written notice setting forth in reasonable detail the basis for
such Good Reason and (ii) the Company has not cured the Good Reason within such
thirty (30) day period, in which case the Termination Date shall be the 30" day after
Executive gave such notice The following shall constitute “Good Reason” for

termination by Executive:

 

i. A material reduction of the Base Salary, or

ii, The material removal or diminution of the authority, responsibilities

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or duties of Executive (other than any such authorities, duties or
responsibilities assigned at any time which are by their nature, or
which are identified at the time of assignment, as being temporary or
short term).

No condition enumerated in the preceding sub-sections (i) and (ii) will be deemed
to be Good Reason unless within 30 days of the initial existence of such condition, the
Executive will have given the Company wrilten notice thereof specifically describing the
condition giving rise to Good Reason and allowing the'Company a period of 30 days
from the date of receipt of the notice to remedy such condition; and provided further,
however, in no event will a condition give rise to Good Reason hereunder unless, within
60 days after the initial existence of such condition, the Executive will have actually
terminated his employment with the Company by giving written notice of resignation for
failure of the Company to remedy such condition.

(d) Termination under_other Circumstances. During the Term, either the
Company or the Executive may voluntarily terminate this Agreement upon thirty (30)
days’ advance written notice to the other party for any reason or no reason whatsoever, it
being understood that Executive’s employment is at-will.

6. Effect of Termination of Employment.

(a) Upon the termination of this Agreement for any reason, the Executive
shall be entitled to, and the Company shall pay Executive, an amount equal to: (i) any
earned but unpaid Base Salary covering the period of employment prior to the effective
date of termination; and (ii) unreimbursed business expenses pursuant to Section 4 above.
Except as otherwise specified in this Section 6(a) or Section 6(b) below, Executive shall
not be entitled to any other compensation or benefits upon the termination of his
employment with the Company for any reason whatsoever.

(b) If Executive is terminated by the Company without Cause or if Executive
terminates his employment for Good Reason, then, subject to Executive signing and
delivering to the Company (and not revoking) a general release in favor of the Company,
in substantially the form attached hereto as Exhibit A, within 30 days following
presentation thereof, and provided that Executive complies with the covenants set forth in
Sections 7, 8, 9 and 12 below, in addition to the payments and benefits described in
Section 6(a), the Company shall continue to pay Executive, in accordance with the
Company’s regular payroll practice, Executive’s Base Salary for twelve (12) months, less
applicable deductions (the “Severance Compensation”); provided, however, that: (i) the
first payment of the Severance Compensation pursuant to this Section 6(b) shall be paid
on the 60" day following Executive’s termination of employment and shall include any
amounts due prior thereto, and (ii) if Executive is terminated by the Company without
Cause or if Executive terminates his employment for Good Reason prior to December 1,
2017, then the Severance Compensation shall only be paid for the balance of the Initial
Term. For the avoidance of doubt, the Executive shall not be entitled to the payments

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under this Section 6(b), if the Executive’s employment is terminated as a result of the
Executive’s death, if the Executive becomes Disabled, if the Company terminates the
Executive’s employment for Cause, or if the Executive voluntarily terminates his
employment with the Company without Good Reason.

7. Restrictive Covenants.

 

(a) Terms. The Company and Executive acknowledge and agree that for
Executive to compete with the Company during the time the Executive is employed by
the Company, and for a limited time thereafter, would be contrary to the purposes for
which the parties entered into this Agreement. In order to induce the Company to enter
into this Agreement, Executive covenants, warrants and agrees, for the benefit of the
Company, its parents, subsidiaries, successors and assigns (collectively, the "Protected
Parties”), that without first obtaining the express written consent of the Company, which
may be granted or withheld in the Company's sole and absolute discretion, Executive
shall not, either directly or indirectly:

i. during the period commencing on the Effective Date and ending upon the
expiration of one (1) year from the date that Executive ceases to be employed
by the Company or any of its Affiliates for any reason (the “Covenant
Period”), engage, or compete with any Protected Party, in the Business, or any
facet of the Business anywhere within the United States of America, as an
employee, independent contractor or otherwise;

ii. during the Covenant Period, have any ownership interest in (whether as a
shareholder, partner, member, associate, owner or otherwise), make any loan
to or investment in, any corporation, partnership, limited liability company,
association, trust, firm or other enterprise which is engaged in, or competes
with, any Protected Party in the Business, or any facet of the Business,
anywhere within the United States of America; provided, however, that
notwithstanding the foregoing, Executive may invest in any publicly-held
corporation engaged in the Business, if his aggregate investment does not
exceed one (1%) percent in value of the issued and outstanding capital stock
of such corporation;

iii. during the Covenant Period, divert from any Protected Party, or by aid of
others, do anything which would cause diversion from any Protected Party, of
any business with any Customer or supplier with which such Protected Party
has any contact or association in connection with the Business; or

iv. during the Covenant Period, solicit, induce or attempt to induce, either directly
or indirectly, any employee or independent contractor of any Protected Party,
(A) to change his, her or its contractual relationship with any Protected Party,
(B) to leave the employment of or terminate his, her or its contractual
relationship with any Protected Party, or (C) enter into the employ of or a

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contractual relationship with Executive, any entity in which Executive has any
interest whatsoever, or any competitor of any of the Protected Parties.

(b) Executive Representations, Executive hereby represents and warrants to
the Company that Executive is not in breach of any existing covenant not to compete,
nonsolicitation agreement, confidentiality agreement or other substantially similar
agreement, nor will Executive be in breach of any such agreement as a result of his
employment with, or performance of services for, the Company.

(c) Enforcement. The covenants set forth in this Section 7 shall be a series of
separate covenants, one for each and every state, county and other municipal division
within the United States of America. The covenants set forth in this Section 7 are
reasonable and valid in geographical and temporal scope and in all other respects. If any
court determines that any covenant set forth in this Section 7, or any portion of any such
covenant, is invalid or unenforceable, the remainder of the covenants set forth in this
Section 7 shall not be affected and shall be given full force and effect, without regard to
the invalid covenant or the invalid portion. If any court determines that any covenant set
forth in this Section 7, or any portion of any such covenant, is unenforceable because of
its duration or geographic scope, such court shall have the power to reduce such duration
or scope, as the case may be, and to enforce such covenant or portion in such reduced
form. The Company and Executive confer jurisdiction to enforce the covenants set forth
in this Section 7 on the courts of any jurisdiction within the geographical scope of such
covenants. If the courts of any one or more of such jurisdictions hold the covenants set
forth in this Section 7, or any portion of any such covenant, unenforceable by reason of
the breadth of such scope or otherwise, such determination shall not bar or in any way
affect the right of any of the Protected Parties to the relief provided in the courts of any
other jurisdiction within the geographical scope of such covenants as to breaches of such
covenants in such other respective jurisdictions.

8. Intellectual Property Rights,

(a) Assignment of Inventions, Uxecutive recognizes that he may, individually
or jointly with others, discover, conceive, make, perfect or develop inventions,
discoveries, new contributions, concepts, ideas, developments, processes, formulas,
methods, compositions, techniques, articles, machines and improvements, and all original
works of authorship and all related know-how, whether or not patentable, copyrightable
or protectable as trade secrets for and on behalf of the Company pursuant to this
Agreement ("Inventions"). Executive agrees that all such Inventions are the sole and
exclusive property of the Company, all to the extent any such Inventions are capable of
ownership under applicable law. EXECUTIVE AGREES THAT ANY PARTICIPATION
BY HIM IN A COPYRIGHTABLE WORK IS A WORK MADE FOR HIRE, AS
DEFINED IN TITLE 17, UNITED STATES CODE, TO THE EXTENT PERMITTED
BY LAW FOR THE SOLE AND EXCLUSIVE BENEFIT OF THE COMPANY AND
EXECUTIVE HEREBY ASSIGNS TO THE COMPANY ALL OF HIS RIGHTS IN
AND TO SUCH INVENTIONS. Executive shall maintain adequate and current written

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records of all Inventions, which shall remain the property of the Company, as applicable
and be available to the Company at all times. At the Company's request Executive shall
promptly sign and deliver all documents necessary to vest in the Company, all right, title
and interest in and to any Inventions. If the Company is unable, after reasonable effort, to
secure Executive's signature on any document needed to vest in the Company all right,
title and interest in and to any Inventions, whether because of Executive's physical or
mental incapacity or for any other reason whatsoever, Executive hereby irrevocably
designates and appoints the Company and its duly authorized officers and agents as
Executive's agent and attorney-in-fact, to act for and in Executive's behalf and stead to
execute and file any such document and to do all other lawfully permitted acts to further
the prosecution and enforcement of patents, copyrights or similar protections with the
same legal force and effect as if executed by Executive.

(b) Third Party Intellectual Property, Executive hereby represents and
warrants that he is not a party or subject to any agreements or other arrangements
protecting the trade secrets or other intellectual property of any third-party.

9, Confidentiality. In order to facilitate the provision of Executive's services to the
Company under this Agreement, the Company has disclosed and will disclose information it
considers proprietary and confidential. This information may include, without limitation: (a)
business, financial, marketing and operational plans; (b) forecasts and projections; (c) sales plans
and data; (d) information which relates to the Company's proprietary products, prototypes, or
plans; (e) customer lists and information, (f) the Company's listing information, and (g) other
information whether or not identified as confidential of a confidential and non-public nature
(collectively, "Confidential Information"); provided, however, that Confidential information shall
not include any information: (x) prior to the Effective Date, was generally publicly available; (y)
becomes publicly available without fault of or action on the part of Executive; or (z) is acquired
by Executive following the cessation of his employment with, or as a member of, the Company
from a third party (other than a Protected Party), free of any restrictions as to its disclosure. In
connection therewith, the parties agree that:

 

(a) Executive agrees to hold the Confidential Information in the strictest
confidence. Executive will not disclose the Confidential Information to any third party.

(b) Executive will not, at any time, use the Confidential Information in any
fashion. form, or manner, except to facilitate the provision of services by Executive on
behalf of the Company.

(c) Confidential Information may not be copied or reproduced without the
Company's prior written consent.

(d) Confidential Information shall at all times remain the sole property of the
Company. Executive shall have no license, ownership rights, or any other rights or
interests in the Confidential Information. Confidential Information disclosed by the
Company, including copies thereof, shall be returned to the Company by Executive upon

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request by the Company; provided, however, that upon termination of this Agreement,
Executive shall return any Confidential Information within ten (10) days of such
termination, without any request by the Company being necessary or required.

10. Specific Performance. In the event of a breach or attempted breach of any of the
covenants set forth in Section 7, Section 8 or Section 9, in addition to any and all legal and
equitable remedies immediately available, such covenants may be enforced by a temporary
and/or permanent injunction. The parties agree that the remedy at law for a breach or threatened
breach of any of the covenants set forth in Section 7, Section 8 or Section 9 would be inadequate.

11. Key Man Insurance. Executive agrees that the Company may obtain a “key man”
life insurance policy on Executive’s life, at the Company’s sole expense and with the Company
as the sole beneficiary thereof. Executive shall (i) cooperate fully with the Company in obtaining
such life insurance, (ii) sign any necessary consents, applications and other related forms or
documents, and (iii) take any required medical examinations.

12. Cooperation. Following termination of the Executive’s employment for any
reason, at the request of the Company, (i) the Executive shall, during the three month period
following termination of employment, (A) cooperate with the Company in transitioning his
duties and activities on behalf of the Company to one or more executives of the Company, and
(B) provide information and other assistance relating to the business operations and activities of
the Company to representatives of the Company, as requested by the Company; and (ii) the
Executive shall cooperate with the Company in connection with any litigation or regulatory
matters in which the Executive may have relevant knowledge or information. The Company
shall reimburse the Executive for the reasonable expenses and costs incurred by him in
connection with such cooperation and assistance.

13. Indemnification, Subject to limitations imposed by law, the Company shall
indemnify and hold harmless Executive to the fullest extent permitted by law from and against
any and all claims, damages, expenses (including reasonable attorneys’ fees), judgments,
penalties, fines, settlements, and al! other liabilities actually and reasonably incurred or paid by
him in connection with the investigation, defense, prosecution, settlement or appeal of any
threatened, pending or completed action, suit or proceeding, whether civil, criminal,
administrative or investigative and to which Executive was or is a parly or is threatened to be
made a party by reason of the fact that Executive is or was an officer, employee or agent of the
Company, or by reason of anything done or not done by Executive in any such capacity or
capacities, provided that Executive complied with his obligations under this Agreement,
Executive acted in good faith, in a manner that was not grossly negligent or constituted willful
misconduct and in a manner he reasonably believed to be in or not opposed to the best interests
of the Company, and, with respect to any criminal action or proceeding, had no reasonable cause
to believe his conduct was unlawful. The Company also shall pay any and all expenses
(including reasonable attorney's fees) incurred by the Executive as a result of the Executive being
called as a witness in connection with any matter involving the Company and/or any of its

officers or managers.

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14. Notices. All notices, requests, consents and other communications, required or
permitted to be given under this Agreement shall be personally delivered in writing or shall have
been deemed duly given when received after it is posted in the United States mail, postage
prepaid, registered or certified, return receipt requested addressed as set forth below. In addition,
a party may deliver a notice via another reasonable means that results in the recipient party
receiving actual notice, as conclusively demonstrated by the party giving such notice.

If to the Company:

TCC Wireless, LLC

565 Randy Road

Carol Stream, Illinois 60188
Email: jay@tccmobile.com
Fax:

Attn: Mr. Javed Malik

If to Executive:

Kenneth Siller

10535 Keller Road
Clarence, New York 14031
Email: ksiller@hotmail.com
Fax:

 

 

15. Miscellaneous.

(a) The failure of any partly to enforce any provision or protections of this
Agreement shall not in any way be construed as a waiver of any such provision or
provisions as to any future violations thereof, nor prevent that party thereafter from
enforcing each and every other provision of this Agreement. The rights granted the
parties herein are cumulative and the waiver of any single remedy shal] not constitute a

waiver of such party's right to assert all other legal remedies available to it under the
circumstances.

(b) This Agreement has been executed in, and shall be construed and
enforced in accordance with the laws of the State of Illinois, without regard to the
conflict of law rules of such state. The state and federal courts sitting in the state of
Illinois shall have exclusive jurisdiction over any and all disputes arising out of or
relating to this Agreement. Each party to this Agreement irrevocably and unconditionally
(i) consents to the exclusive jurisdiction of such courts in respect of any action, suit or
proceeding arising out of or relating to this Agreement, (ii) waives any defense of lack of
personal jurisdiction in such courts in respect of any action, suit or proceeding arising out
of or relating to this Agreement, and (iii) waives any objection to the laying of venue of
any action, suit or proceeding arising out of or relating to this Agreement.

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(c) The provisions of this Agreement are severable and if anyone or more
provisions may be determined to be illegal or otherwise unenforceable, in whole or in
part. the remaining provisions and any partially unenforceable provision to the extent
enforceable in any jurisdiction nevertheless shall be binding and enforceable.

(d) This Agreement sets forth the entire understanding and agreement of
Executive and the Company with respect to its subject matter and supersedes all prior
understandings and agreements, whether written or oral, in respect thereof. No
modification, termination or attempted waiver of this Agreement shall be valid unless in
writing and signed by the party against whom the same is sought to be enforced.

(e) The rights and obligations of Company under this Agreement shall inure
to the benefit of, and shall be binding on, Company and its successors and assigns. This
Agreement is personal to Executive and he may not assign his obligations under this
Agreement in any manner whatsoever and any purported assignment shall be void. For
all purposes under this Agreement, the term "Company" shall include any successor to
Company's business and/or assets that assume the Company's rights and obligations

under this Agreement.

(f) The headings and captions used in this Agreement are for convenience of
reference only and shall not be considered in interpreting this Agreement.

(g) Each party expressly represents and warrants to each other that: (i) before
executing this Agreement, such party has fully informed itself of the terms, contents,
conditions and effects of this Agreement; (ii) such party has relied solely and completely
upon its own judgment in executing this Agreement, (iii) such party has been advised to
and has had the opportunity to seek the advice of counsel! before executing this
Agreement; (iv) such party, whether or not it chose to seek the advice of counsel, has
acted voluntarily and of its own free will in executing this Agreement; (v) such party,
whether or not it chose to seek the advice of counsel, is not acting under duress, whether
economic or physical, in executing this Agreement; and (vi) and such party, if it chose
not to seek the advice of counsel, shall not raise any claims against the enforcement of
this Agreement that arise from its decision not to do so.

(h) This Agreement may be executed in any number of counterparts, each of
which shal! be deemed an original and all of which together shall constitute one and the
same document, and copies (facsimile, photostatic, electronic or otherwise) of signatures
to this Agreement shall be deemed to be originals and may be relied upon to the same
extent as though such copy, fax or electronically transmitted signature was an original.

(i) Any payments provided for in this Agreement shall be paid net of any
applicable income tax withholding required under federal, state or local law.

16. Survival. Sections 6, 7, 8, 9, 10, 12 and 13 will survive and continue in full force
in accordance with their terms notwithstanding any termination of this Agreement.

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17. Section 409A. It is intended that this Agreement will be exempt from, or comply,
with Section 409A of the Internal Revenue Code of 1986, as amended (the “Code”) and any
regulations and guidelines promulgated thereunder (collectively, “Section 409A”), and the
Agreement shall be interpreted on a basis consistent with such intent. No action or failure to act
pursuant to this Section 17 shall subject the Company to any claim, liability, or expense, and the
Company shall not have any obligation to indemnify or otherwise protect Executive from the
obligation to pay any taxes, interest or penalties pursuant to Section 409A. Notwithstanding any
provision to the contrary in this Agreement, if Executive is deemed on the date of his “separation
from service” (within the meaning of Treas. Reg. Section 1.409A-1(h)) with the Company to be a
“specified employee” (within the meaning of Treas. Reg. Section 1.409A-1(i)), then with regard
to any payment or benefit that is considered deferred compensation under Section 409A payable
on account of a “separation from service” that is required to be delayed pursuant to Section
409A(aX2)(B) of the Code (after taking into account any applicable exceptions to such
requirement), such payment or benefit shall be made or provided on the date that is the earlier of
(3) the expiration of the six (6)-month period measured from the date of Executive’s “separation
from service,” or (ii) the date of Executive’s death (the “Delay Period”). Upon the expiration of
the Delay Period, all payments and benefits delayed pursuant to this Section 17 (whether they
would have otherwise been payable in a single sum or in installments in the absence of such
delay) shall be paid or reimbursed to Executive in a lump sum and any remaining payments and
benefits due under this Agreement shall be paid or provided in accordance with the normal
payment dates specified for them herein. Notwithstanding any provision of this Agreement to the
contrary, for purposes of any provision of this Agreement providing for the payment of any
amounts or benefits upon or following a termination of employment that are considered deferred
compensation under Section 409A, references to Executive's “termination of employment” (and
corollary terms) with the Company shall be construed to refer to Executive’s “separation from
service” (within the meaning of Treas. Reg. Section 1,409A-1(h)) with the Company. Whenever
payments under this Agreement are to be made in installments, each such installment shall be
deemed to be a separate payment for purposes of Section 409A.

 

[Signatures on following page]

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IN WITNESS WHEREOF, the parties have executed this Employment Agreement as of

the day and year first above written.

COMPANY:

TCC WIRELESS, LLC, a Delaware limited liability
company

ye A

Print Name:_ Jayv2) PAK,
Its: CEO |

EXECUTIVE:

 

[Signature Page to Employment Agreement]

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Exhibit A
Form of Release

 

For good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, Kenneth Siller (“Executive”) hereby delivers this Release (“Release”) to TCC
Wireless, LLC, a Delaware limited liability company (the “Employer”) in connection with the
termination of Executive’s employment with Employer and its subsidiaries. Capitalized terms
used but not otherwise defined herein shall have the meaning ascribed to such terms in that
certain Employment Agreement dated as of December 1, 2016, by and between Employer and

Executive (the “Employment Agreement”).

1, Executive Release of Rights. Except for the payments to be made following the
Termination Date to Executive pursuant to Section 6 of the Employment Agreement, Executive
(defined for the purpose of this Section 1 as Executive and Executive's agents, representatives,
attorneys, assigns, heirs, executors, and administrators) fully and unconditionally releases
Employer, its subsidiaries and each of its respective past or present employees, agents, insurers,
attorneys, administrators, officers, directors, shareholders, members, managers, parents,
predecessors, successors, employee benefit plans, and the sponsors, fiduciaries, or administrators
of Employer’s employee benefit plans (collectively, the “Released Parties’) from, and agrees not
to bring any action, proceeding, or suit against any of the Released Parties regarding, any and all
liabilities, claims, demands, actions, causes of action, suits, grievances, debts, sums of money,
agreements, promises, damages, back and front pay, costs, expenses, attorneys’ fees, and
remedies of any type, from the beginning of time to the date hereof, including, without limitation,
any liability arising or that may have arisen out of or in connection with Executive’s employment
with, or termination of employment from, Employer, including, but not limited to, claims,
actions or liabilities under (1) Title VII of the Civil Rights Act of 1964, the Civil Rights Act of
199), the Civil Rights Act of 1866, the Age Discrimination in Employment Act, the Americans
with Disabilities Act, the Fair Labor Standards Act, the Family and Medical Leave Act, the
Worker Adjustment and Retraining Notification Act, the Older Workers Benefit Protection Act,

 

 

‘and the Employee Retirement Income Security Act of 1974; (2) any other federal, state or local

statute, ordinance, or regulation regarding employment, termination of employment, or
discrimination in employment, and (3) the common law of any state relating to employment
contracts, wrongful discharge. defamation, or any other matter, provided, however, that
Executive is not releasing, and is not agreeing to forego bringing any action, suit or proceeding
regarding (A) any claim that cannot be legally released, (B) any claim based upon any vested
benefits Executive may have under any employee welfare benefit plan of Employer or its
subsidiaries, or (C) any of his rights under this Release.

2. Waiver of Reinstatement. Executive waives any reinstatement or future
employment with Employer or its subsidiaries and agrees never to apply for employment or
otherwise seek to be hired, rehired, employed, re-employed, or reinstated by Employer or any of

its subsidiaries.

3. Severability. The provisions of this Release shall be severable and the invalidity
of any provision shal! not affect the validity of the other provisions; provided, however, that upon
a finding by a court of competent jurisdiction that any release in Section 1 above is illegal, void

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or unenforceable, Executive agrees to execute promptly a release and covenant that is legal and

enforceable.

4, Governing Law. This Release shall be governed by and construed in accordance
with the laws of the State of Illinois without regard to conflicts of laws principles that would
cause any state’s Jaws, other than the laws of the State of Illinois, to apply.

5. Scope _of Release. Executive understands that he remains bound to those
provisions in his Employment Agreement that survive the termination of his employment in
accordance with Section 7, 8 and 9 thereof. Except as specifically set forth in such provisions,
this Release contains the entire agreement and understanding between Executive and Employer
concerning the matters described herein, and supersedes all prior agreements, discussions,
negotiations, understandings and proposals of the parties. The terms of this Release cannot be

changed except in a subsequent document signed by both parties.

6. Revocation Period. Executive has the right to revoke this Release solely with
regard to his release of claims under the Age Discrimination in Employment Act and the Older
Workers Benefit Protection Act for up to seven (7) days after he signs it. In order to revoke this
Release, Executive must sign and send a written notice of the decision 10 do so, addressed to
Employer, and that written notice must be received by Employer no later than the eighth (8") day
after Executive signed this Release. If Executive revokes this Release, Executive will not be
entitled to any consideration from Employer described in Section 6 of the Employment

Agreement.

 

7. Knowing and Voluntary Waiver. Executive acknowledges that:

a. Executive has carefully read this Release and fully understands its
meaning;

b. Executive had the opportunity to take up to 21 days after receiving this
Release to decide whether to sign it;

c, Executive understands that Employer is hereby advising him, in writing, to
consult with an attorney before signing it;

d. Executive is signing this Release, knowingly, voluntarily, and without any
coercion or duress; and

e. Everything Executive is receiving for signing this Release is described in
the Employment Agreement or this Release and no other promises or
representations have been made to cause Executive to sign it.

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IN WITNESS WHEREOF, Executive has executed this Release as of the date below.

EXECUTIVE:

pated: _ (1, Bolo

 

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SCHEDULE A

Traffic Conversion Bonus

 

 

 

 

 

 

 

 

 

 

Traffic Conversion Percentage Performance Bonus
Less than 9% 0

At least 9% but less than 10% $5,000.00

At least 10% but less than 10.5% $7,500.00

At least 10.5% but less than 11% $12,000.00

At least 11% but less than 11.5% $15,000.00
Atleast 11.5% but less than 12% $17,500.00

At least 12% $20,000.00

 

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EXHIBIT B
FILED DATE: 8/29/2019 11:30 AM 2019CH10028

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From: Andrea Sealey <asealey@expmgnt.com>
Date: Tuesday, August 20, 2019 at 8:57 AM

To: Andrea Sealey <asealey@expmgnt.com>
Subject: IMPORTANT Organizational Announcement

[External]

 

 

 

 

August 20, 2019

At Express, we are committed to the continued growth of our employees and the company as a
whole. We are always looking for new ways to bring both our employees and our company to
the Next Level while not losing sight of our Employee First initiatives. It is in the spirit of
continued growth and positioning ourselves to be in the best spot for potential expansion that
Express Stores is excited to announce the following organizational changes that will go into
effect on Monday, August 26, 2019.

  

Ryan Warner: Ryan has been with Express since joining as the Vice President of Sales in
2012. In 2017, Ryan was promoted to Chief Operating Officer, leading the way through multiple
growth and expansion opportunities while overseeing the day to day operations of the
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company. He has championed many initiatives to continue to put Express in a position for
further growth while balancing the direct oversight of the Sales department and strategic
oversight for the entire organization. Beginning Monday, August 26, Ryan will assume a new
role as the Chief Executive Officer for Express Stores. This new role will allow him to focus
his energy and leadership on taking Express Stores to the next level. Ryan's passion for an
Employee First culture will remain unwavering as he leads the company's strategic growth
initiatives and continues to find new ways to make Express Stores an even greater place to
work!

 

Phil Speiser: Phil joined Express in May of 2014 as the Vice President of Operations. In 2017,
Phil was promoted to Senior Vice President of Operations. During his time with Express, Phil
has overseen the growth of the operations team to include Operations Manager support for
each market, multiple layers of leadership within the department, the evolution of the Loss
Prevention team, and the addition of entirely new departments such as the Reporting and
Analytics team. Phil has been an invaluable asset to the operational side of our business during
his tenure with Express. On Monday, August 26, Phil will assume a new role as Chief
Operations Officer. In this new capacity, Phil will continue to oversee the Operations of the
business, focusing on new possibilities to develop relevant, more efficient processes and
procedures for more streamlined operations to support and protect the company assets.

 

uy :

Ken Siller: Express Stores is pleased to welcome Ken to the Express family as Chief Revenue
Officer. Ken brings with him over 12 years of experience in the Telecom industry, dating back
to a start in 2007. He has lead sales teams in T-Mobile and other large partners driving
tremendous results and is excited to bring that expertise to Express. Ken understands and
values people and is looking to use his passion and experiences to continue to build on our
Employee First culture. Ryan Warner previously worked with Ken and has said, "Ken is one of
the best leaders | have ever had the pleasure of working with, and | am excited about the
potential for Express under his leadership." Ken is a father of four and resides in Buffalo,

NY. In his spare time, he is an avid snowmobiler. We look forward to all that Ken will bring to
Express to take our sales teams to the next level as he begins his new position on Monday,
August 26.

Andrea Sealey
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Director of Communications and Employee Development
Express Stores | 158 Tices Lane, East Brunswick NJ 08816
p 757-232-7735 | e Andrea.Sealey@T-Mobile.com |

 

Connect with Us:

Express

  

“We are a team of dynamic wireless leaders
that cultivate success through integrity and
the commitment to exceed customer
expectations to deliver exceptional results*

 

 

 

 

 
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Return Date: No return date scheduled
Hearing Date: 12/27/2019 10:00 AM - 10:00 AM
Courtroom Number: 2410

room NUT FILED
seater wok County. IL | 8/29/2019 2:56 PM
IN THE CIRCUIT COURT OF COOK COUNTY DOROTHY BROWN

CIRCUIT CLERK
COUNTY DEPARTMENT, CHANCERY DIVISION COOK COUNTY, IL

TCC WIRELESS, LLC, a Delaware) 2019CH10028
limited liability company, 6386906

Plaintiff, Case No.: 2019 CH 10028

Vv.

KENNETH SILLER, an individual,

le a

Defendant.
NOTICE OF EMERGENCY MOTION

FILED DATE: 8/29/2019 2:56 PM 2019CH10028

To: Kenneth Siller
c/o Jennifer M. Levanchy, Esq.
General Counsel
Express Stores
158 Tices Lane
East Brunswick NJ 08816

PLEASE TAKE NOTICE that on September 4, 2019 at 1:30 p.m., or as soon
thereafter as counsel may be heard, | shall appear before the Honorable Anna M. Loftus, or any
judge sitting in his stead, in Courtroom 2410 of the Richard J. Daley Center, 50 W.
Washington, Chicago, Illinois, and shall then and there present Plaintiff's Verified Emergency
Motion for Temporary Restraining Order and Preliminary Injunction, a copy of which is

hereby served upon you.

TCC WIRELESS, LLC

By: /s/ Louis J. Phillips
One of his attorneys

Louis J. Phillips (phillips@pfs-law.com)
Patzik, Frank & Samotny Ltd.

200 S. Wacker Drive, Suite 2700
Chicago, IL 60606

312/551-8300

312/551-1101 (Fax)

Firm ID #35160

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CERTIFICATE OF SERVICE

The undersigned, a non-attorney, under penalties as provided by law pursuant to Section
1-109 of the Illinois Code of Civil Procedure, certifies that a copy of this Notice of Emergency
Motion and Plaintiff's Verified Emergency Motion for Temporary Restraining Order and
Preliminary Injunction was served upon:

Kenneth Siller

c/o Jennifer M. Levanchy, Esq.
General Counsel

Express Stores

158 Tices Lane

East Brunswick NJ 08816

p 732-608-8926
JLevanchy@expment.com

via email to the email address set forth above, on this 29" day of August, 2019.

/s/ Melissa A. Siedlecki

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Return Date: No return date scheduled
Hearing Date: 12/27/2019 10:00 AM - 10:00 AM

Courtroom Number: 2410
Location: District 1 Court

FILED DATE: 8/29/2019 1:08 PM 2019CH10028

FILED

Cook County, IL IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS — DOROTHY BROWN
COUNTY DEPARTMENT, CHANCERY DIVISION CIRCUIT CLERK
COOK COUNTY, IL
TCC WirELEss, LLC, a Delaware limited 2019CH10028
Liability company, 6383252
Case No.: 2019 CH 10028
Plaintiff,
Vv.

Kenneth Siller, an individual,

Nome Noe Newweet Semee Seamee Semel” Nene” Senne Nee”

Defendant.

MEMORANDUM IN SUPPORT OF VERIFIED
EMERGENCY MOTION FOR TRO AND PRELIMINARY INJUNCTION

Plaintiff TCC Wireless, LLC. (“TCC Wireless”), through its undersigned counsel, submits
the following brief in support of its Emergency Motion for TRO and Preliminary Injunction.

Introduction

TCC Wireless filed a Verified Complaint seeking, among other things, injunctive relief
arising out of the breach of non-compete, non-solicitation and confidentiality provisions in an
employment agreement entered into between it and its now former employee and high level
executive Kenneth Siller (“Defendant”).

Defendant made an unequivocal promise, for which he was adequately compensated
(including a significant signing bonus), not to compete with his employer, steal its confidential
information, or take its employees after he ceased being employed. He quit of his own volition,
and immediately went to work for a direct competitor. Shortly thereafter, Defendant was involved
in soliciting TCC Wireless’ employees. Defendant broke his contract. He working for a direct
competitor in the exact market and geographic area where TCC Wireless operates. He also is
soliciting TCC Wireless’ employees a critical asset in this industry. Unless this Court enters the

requested TRO and preliminary injunction, TCC Wireless will be irreparably harmed.

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Statement of Facts
TCC Wireless

TCC Wireless is an authorized independent dealer for T-Mobile, USA, Inc. TCC Wireless
has retail stores that sell both cellular phones and related accessories and cellular phone plans,
among other things, for T-Mobile. (V. Compl. §6, Exhibit 1.) TCC Wireless has offices and retail
stores in Illinois, as well as the following thirteen other states: Connecticut, Florida, Georgia,
Indiana, lowa, Massachusetts, New York, New Jersey, Ohio, Pennsylvania, Rhode Island, South
Carolina, and Wisconsin. (/d.]7.)

The Cellular Phone Industry

The wireless and cellular phone industry is very competitive, and consists of many
components: cell phone technology, cell phone manufacturing, cell phone service and retails
sales. Several companies, including Defendant’s current employer Express Stores, LLC (“Express
Stores”), compete with TCC Wireless in the very same market for the very same customers and the
same sales channels. (V. Compl. 48.) Like TCC Wireless, Express Stores also operates in the east
coast market and has retail stores in New Jersey, Massachusetts, Pennsylvania, South Carolina and
Florida. (See Express Stores locations, Exhibit 2.) TCC Wireless spends substantial resources of
time and hundreds of thousands of dollars to develop, cultivate and retain favorable relationships
with its customers, to identify valuable market space, and to identify potential opportunities for
business growth. (V. Compl. 49.) For these reasons, executives within the cellular phone retail
industry are particularly competitive, as retail operators are constantly seeking information
regarding expansion and market opportunities. (/d. 8.)

The Employment Agreement

On December 1, 2016, TCC Wireless hired Defendant as its Senior Vice President of Sales

and Marketing. (Id. 10.) This is a high level executive position which involves strategic planning

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for retail sales within the cellular phone industry. (Id. 10.) Because of Defendant’s background
and unique talent in the cellular phone industry, TCC Wireless hired Defendant to expand its
business. Defendant was handsomely compensated for this position. TCC Wireless provided
Defendant a signing bonus and one of the highest salaries in the business. (/d. $23.)

In exchange for unusually high compensation, Defendant negotiated and agreed to an
Employment Agreement that contained restrictive covenants. (Id. J{11, 23.); the “Agreement,”
Exhibit 3.) Defendant negotiated its terms with TCC Wireless. (Id. §11.) Defendant
acknowledged he fully understood the Agreement and was encouraged to seek independent legal
counsel before he voluntarily signed and agreed to its terms. (Agreement J 15(g), Ex. 3.)

Non-Compete Provision

The Agreement contains, among other things, a reasonable one year non-compete
provision, which provides, in relevant part:

{D]uring the period commencing on the Effective Date [December 1, 2016] and

ending upon the expiration of one (1) year from the date that Executive ceases to be

employed by the Company or any of its Affiliates for any reason (the “Covenant
Period”), engage, or compete with any Protected Party, in the Business, or any facet
of the Business anywhere within the United States of America, as an employee,
independent contractor or otherwise;
(/d.{ 7(a)(i), Ex. 3.) The “Business” relates to the operations of retail stores, and is defined as
“operating wireless phone stores and the sale of wireless phones, accessories and related products
and services, as the Company determines from time to time (all such activities and services
provided by the Company and any and all other businesses and operations in which the Company
may hereafter engage).” (/d., Recitals(A), Ex. 3.)

The non-compete provision is designed to protect TCC Wireless’ reasonably competitive

business information, including confidential information about its finances and business

performance, its employee compensation and commission structure, its proprietary operational

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technology platform, sales strategies, business plans, operations, market Strategies, and strategies
for growth and sales, including plans for target acquisitions. (V. Compl. 914.)
The Agreement also contains the following non-solicitation provisions:

Non-Solicitation of Customers

 

The Agreement provides, in relevant part, as follows:

iil. during the Covenant Period divert from any Protected Party, or by aid of
others, do anything which would cause diversion from any Protected Party, of any
business with any Customer or supplier with which such Protected Party has any
contact or association in connection with the business...

Non-Solicitation of Employees

iv, during the Covenant Period, solicit, induce or attempt to induce, either

directly or indirectly, any employee or independent contractor of any Protected

Party, (A) to change his, her or its contractual relationship with any Protected Party,

(B) to leave the employment of or terminate his, her or its contractual relationship

with any Protected Party, or (C) enter into the employ of or a contractual

relationship in which Executive [Siller] has any interest whatsoever, or any

competitor of any of the Protected Parties.
(Agreement {| 7(a), Ex. 3.) This non-solicitation provision protects TCC Wireless’ employment
workforce from the possible poaching of employees with confidential information, protects costs
associated with recruiting and hiring employees, ensures a stable workforce necessary for the
stable growth of the business, and avoids an en masse of resignations. (V. Compl. 428.) Based on
these covenants, TCC Wireless introduced Defendant to the rest of its management team, regional
managers, district managers, and sales representatives. Id.

Confidentiality Provision

The Agreement contains a confidentiality provision defining Confidential Information:

In order to facilitate the provision of Executive’s [Siller’s] services to the Company

[TCC Wireless] under this Agreement, the Company has disclosed and will

disclose information it considers proprietary and confidential. This information

may include, without limitation: (a) business financial, marketing and operational
plans; (b) forecasts and projections; (c) sales plans and data; (d) information which

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relates to the Company’s proprietary products, prototypes or plans; (e) customer
lists and information; (f) the Company’s listing information; and (g) other
information whether or not identified as confidential of a confidential and
non-public nature (collectively “Confidential Information”); provided, however,
that Confidential Information shall not include any information: (x) prior to the
Effective Date, was generally publicly available; (y) becomes publicly available
without fault of or action on the part of Executive; or (z) is acquired by Executive
following the cessation of employment with, or as a member of, the Company from
a third party (other than a Protected Party), free from any restrictions as to its
disclosure.

(Agreement { 9, Ex. 3.) The Agreement’s confidentiality provision requires Defendant to
safeguard TCC Wireless’ Confidential Information. The Agreement further provides as follows:

(a) Executive agrees to hold Confidential Information in the strictest
confidence. Executive will not disclose the Confidential Information to a third
party,

(b) Executive will not, at any time, use Confidential Information in any

fashion, form, or manner, except to facilitate the provision of services by Executive
on behalf of the Company;

(c) Confidential Information may not be copied or reproduced without
the Company’s prior written consent;

(d) Confidential Information shall at all times remain the sole property
of the Company. Executive shall have no license, ownership rights, or any other
rights or interests in the Confidential Information. Confidential Information
disclosed by the Company, including any copies thereof, shall be returned to the
Company by Executive upon request by the Company; provided, however, that
upon termination of this Agreement, Executive shall return any Confidential
Information within ten (10) days of such termination, without any request by the
Company necessary or required.
(id. 4 9, Ex. 3.)
Defendant agreed that the restrictions set forth in the restrictive covenant provisions of the
Agreement, among others, are “reasonable and valid in geographical and temporal scope and in all
other respect.” (Id. {7(c), Ex. 3.) Defendant was also handsomely compensated for these

covenants. (V. Compl. 423.) Based on these covenants, TCC Wireless introduced Defendant to its

proprietary and unique internal operations, software, and back office operations. (/d.)

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Defendant’s Employment with TCC Wireless
As the Senior Vice President of Sales and Marketing, Defendant was in a position where
TCC Wireless shared with him and he otherwise acquired confidential and proprietary information

regarding, among other things, the following:

¢ its finances and business performance: Defendant received, among other
things, regular financial reports on sales, earnings, business margins,
employee compensation structures, employee commission structures, as
well as details on TCC Wireless’ proprietary operational technology
platform;

* its business plans including, but not limited to, information regarding TCC
Wireless’ growth and sales strategy, including but not limited to TCC
Wireless’ plans to target in the next several years; and

« TCC Wireless’s sales strategies, the performance of many of its retail stores
through the country, including performances of individual employees.

(V. Compl. {1 9(a)-(c).) TCC Wireless relied on Defendant’s agreement to be bound by the terms
of the Agreement in sharing its Confidential Information with him. (/d. 920.)
Defendant agreed that if he violated the restrictive covenants, among other things, TCC
Wireless would be entitled to injunctive relief. The Agreement provides:
Specific Performance. In the event of a breach or attempted breach of any of the
covenants set forth in Section 7, Section 8 or Section 9, in addition to any and all
legal and equitable remedies immediately available, such covenants may be
enforced by a temporary and/or permanent injunction. The parties agree that the
remedy at law for a breach or threatened breach of any of the covenants set forth in
Section 7, Section 8 or Section 9 would be inadequate.
(Agreement ¥ 10, see also J7(c) , Ex. 3.)
As the Senior Vice President of Sales and Marketing and high level executive, Defendant
was privy to TCC Wireless’ Confidential Information. Defendant worked with TCC Wireless’
customers and sales channels with whom TCC Wireless maintains relationships nationwide.

During the course of Defendant’s employment with TCC Wireless, he became familiar with,

among other things, the manner in which TCC Wireless operates, and its sensitive information

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regarding its business such as its billing procedures, compensation structures, employee
commission structure and payouts, proprietary operational technological platform, employment
strategies, strategic growth plans, sales volumes, business profitability, weaknesses, as well as
sales goals and targets, which apply to its stores nationwide. Defendant also became privy to TCC
Wireless’ growth strategies, including strategic markets and partners. (V. Compl. §22.)

Effective on or about August 5, 2019, Defendant voluntarily resigned from his position as
Senior Vice President of Sales and Marketing with TCC Wireless. ( Jd. 24.)

Defendant’s Breach of Employment Agreement

Immediately following his resignation, Defendant became employed by Express Stores, a
direct competitor of TCC Wireless. (/d. 25; see also Announcement, Exhibit 4.) Like TCC
Wireless, Express Stores is an authorized independent dealer for T-Mobile, USA, Inc. and is in
same business as TCC Wireless. Express Stores is the second largest T-Mobile partner. It has retail
stores in the same east coast markets as TCC Wireless. (See Express Stores website, Ex. 2.)

On August 21, 2019, TCC Wireless sent Defendant a cease and desist letter, demanding
that he not work for the competitor Express Stores. (Exhibit 5.) Defendant, through counsel,
responding both on his behalf and on behalf of Express Stores, stated, among other things, that
Defendant was not going to leave his employment with Express Stores.

Not only is Defendant now representing Express Stores in competition with TCC Wireless,
immediately after, and within a one-year period of terminating his employment with TCC
Wireless, Defendant also is violating his non-solicitation obligations by seeking to convince TCC
Wireless employees to leave their employment to work for Express Stores. On or about August 22,
2019, Defendant was involved in soliciting Michael Erra, an employee of TCC Wireless, to end his

employment with TCC Wireless and to work for Express Stores. (V. Compl. 927.)

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Further, Defendant currently retains the Confidential Information as part of his thoughts
and mental impressions and, upon information and belief, his continued work with Express Stores
will lead to the inevitable disclosure of the Confidential Information that are necessarily and
permanently maintained as part of his thoughts and mental impressions. (/d.at ] 29.) If Defendant
continues to violate the non-compete and non-solicitation provisions of his Agreement, TCC
Wireless will suffer additional irreparable harm. Accordingly, TCC Wireless filed a Complaint
against Defendant seeking, among other things, injunctive relief. TCC Wireless now asks this
Court to maintain the status quo by entering a temporary restraining order and/or a preliminary
injunction to enforce the narrowly crafted, non-compete and non-solicitation provisions in the
Agreement, which Defendant voluntarily signed, pending resolution of this litigation.

Procedural History

On August 29, 2019, TCC Wireless filed the Complaint for breach of contract, seeking, in

part, injunctive relief. TCC Wireless now moves for temporary injunctive relief to maintain the

status quo while it pursues a final judgment enforcing the restrictive covenants of the Agreement.

Argument

The entry of a temporary restraining order or preliminary injunction is appropriate if the
moving party can show that (1) it has a protectable interest, (2) there is a likelihood of success on
the merits, (3) it will suffer irreparable injury if injunctive relief is not granted, and (4) its remedy
at law is inadequate. See e.g., Arpac Corp. v. Murray, 226 Ill. App. 3d 65, 72 (Ist Dist. 1992). To
obtain a TRO, a plaintiff need only establish a “fair question” of whether these elements are satisfied.
Tierney v. Village of Schaumburg, 182 Ill. App. 3d 1055, 1059-1060 (ist Dist. 1989); Gold v. Ziff
Communications Co., 196 Ill. App. 3d 425, 431 (1st Dist. 1989). When obtaining injunctive relief,
Plaintiff need not conclusively establish its position with regard to the ultimate determination on
the merits. Instead, it need only “raise a fair question as to the existence the right claimed, lead the

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Court to believe [it] will be entitled to the relief prayed for if the proof and law sustain [its]
allegations, and make it appear advisable that the positions of the parties remain the same until the
merits of the case are considered.” Armour & Co. v. United American Food Processors, Inc., 37
Ill.App.3d 132, 137 (1st Dist. 1976). The balance of hardships to the parties must also support the
injunctive relief requested. Cross Wood Prods., Inc. v. Suter, 97 Ill. App. 3d 282, 284 (1st Dist.
1981); Weitekamp v. Lane, 250 Ill. App. 3d 1017, 1022 (4th Dist. 1993) (only prima facie evidence
required for temporary injunctive relief).

The above standards are relaxed in the context of a motion for a temporary restraining
order. In particular, the probability of success on the merits is viewed more liberally.

A trial Court should not refuse a Temporary Restraining Order merely because the

Court may not be absolutely certain the [movants] ha[ve] the right that {they] claim.

The [movants] [are] not required to present a case that would entitle ({them] to

judgment at trial. Rather, [they] need only show that [they] raise a fair question of

the existence of [their] right and that the Court should preserve the status quo until

it can decide the cause on its merits.

West Suburban Hospital Medical Center v. Hynes, 173 Ill_App.3d 847, 856-57 (1st Dist. 1998).
Here, TCC Wireless is entitled to a TRO and preliminary injunction pursuant to this analysis.

I. Illinois Law Governs the Resolution of this Dispute.

The Agreement is governed by Illinois Law. (Agreement  15(b), Ex. 3 (“This Agreement
has been executed in, and shall be construed and enforced in accordance with the laws of the State
of Illinois, without regard to the conflict of law rules of such state.”) (emphasis added). Illinois
courts respect a contract’s choice of law provisions. Kohler v. Leslie Hindman, Inc., 80 F.3d 1181 ;

1185 (7" Cir, 1996).

Il. TCC Wireless Has a Strong Likelihood that It Will Prevail on the
Merits of the Breach of Contract Claim.

Little dispute exists that TCC Wireless and Express Stores are competitors, or that

Defendant violated the non-solicitation provision by soliciting a TCC Wireless employee. As

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such, he has breached the terms of the Agreement. The sole issue, then, is whether the restrictive
covenants in the Agreement are enforceable. Under Illinois law, post-employment restrictive
covenants are enforceable if they are reasonable. A restrictive covenant is reasonable if it (1) is no
greater than is required for the protection of a legitimate business interest of the employer, (2) does
not impose undue hardship on the employee, and is not injurious to the public. Reliable Fire
Equip. Co. v. Arredondo, 358 Ill. Dec. 322 (2011).

A. The Agreement protects a legitimate business interest.

Illinois has long recognized a company’s right to protect its goodwill, clientele and
confidential information and business through the use of restrictive covenants. Oil Express
National, Inc.v. P&F Express, Inc, 1985 WL 3586 at *2 (N.D. Ill. 1985); Abel v. Fox, 274 Ill App.
3d 811, 819 (1995) (protectable interest in confidential information or in its existing relationships
with customers). A business further has a protectable right in its existing and prospective business
relationships with its clients, and the continued viability and success of its business. See, é.g.,
Reliable Fire Equipment Co. v. Arredondo, 965 N.E.2d 393, 401 (Ill. 201 1); Abel v. Fox, 274 Il.
App. 3d 811, 819 (4" Dist. 1995) (“In Illinois, confidential information and customer relationships
can be a protectable interest of an employer”). “To state the obvious, an employer bargains for a
restrictive covenant out of a concern that an employee will in the future compete with the employer
and capture the employer’s traditional business.” Arthur J. Gallagher v. Roi, No. 1-14-0786, 2015
Ill. App (1) (1 Dist. 2015); Corroon & Black of Illinois v. Magner, 145 Ill. App. 3d 151, 162-64
(1* Dist. 1986) (injunctive relief “is customary” where former employee threatens to disclose or is
likely to disclose confidential business information of the former employer or where former
employee threatens to steal or solicit long-term client). “Where, by virtue of his employment, an

employee obtains certain confidential information relating to bidding procedures and customer

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requirements and acquires an advantage through representative contact with the trade in the area of
their application, the employer has the right to protect himself from the disadvantageous use of that
information.” Donald McElroy, Inc. v. Delaney, 72 Ill. App. 3d 285 (1979).

For these reasons, “[u]nder some circumstances, ‘a promise to refrain from competition is a
natural and reasonable means of protecting a legitimate interest of the promise.” Reliable Fire
Equip. Co., 358 Ill. Dec. 322 (quoting Restatement (Second) of Contracts § 188 cmt. B (1981).)
“In the case of a post employment restraint, where the employer-promisee exacts from the
employee a promise not to compete after termination of the employment, the restraint is usually
Justified on the ground that the employer has a legitimate business interest in restraining the
employee from appropriating the employer’s (1) confidential trade information, or (2) customer
relationships. Included within these precepts are several factors for a court to consider.” Jd.
“Whether a legitimate business interest exists is based on the totality of the facts and circumstance
of the individual case. Factors to be considered in the analysis include, but are not limited to, the
near-permanence of customer relationships, the employee’s acquisition of confidential
information through his employment, and time and place restrictions.” Cumulus Radio Corp. v.
Olson, 80 F. Supp. 3d 900 (C.D. Ill. 2015).

As it relates to the solicitation of TCC Wireless’ employees, it has a reasonable interest in
maintaining a stable work force. Arpac Corp. v. Murray, 226 Ill. App. 3d 65 (1992) (plaintiffs
“interest in maintaining a stable work force” was sufficient to enforce non-solicitation of employee
provision); Integrated Genomics, Inc. v. Kyrpides, No. 06 C 6706, 2010 WL 275672 at *10 (N.D.
Ill. Jan. 26, 2010) (employer has a legitimate business interest in maintaining a stable workforce).
TCC Wireless expends a substantial amount of resources training its employees and attempting to

maintain a stable workforce. In the cellular phone industry, the stability of the work force is

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important to continued growth and market expansion. See, e.g., Arpac v. Murray, 226 Ill. App. 3d
65, (1992) (enjoining former employee from soliciting former employer’s senior salesman and
management employees in violation of the non-solicitation covenants),

The non-compete provision in the Agreement protects a reasonable competitive business
interest and is otherwise reasonable. TCC Wireless disclosed to Defendant its confidential training
procedures, its internal marketing goals, its market share strategies, and the years of accumulated
data upon which it was based. If Defendant is permitted to continue violating the restrictive
covenants, TCC Wireless’ will lose its competitive advantage.

There is no serious dispute that Defendant violated the Non-Competition provision of the
Agreement. He is working for a competitor of his former employer in the same market area and is,
upon information and belief, performing the same services. There is also no serious dispute that
Defendant violated the Non-Solicitation provision of the Agreement through his involvement in
the solicitation of a TCC Wireless employee to leave his employment to work for Express Stores.
Defendant’s knowledge of TCC Wireless’ market growth strategies, as well as its plans about
which employees would help it achieve its goals, among other things, gives Defendant and
Express Stores an unfavorable advantage as Defendant can take the very confidential information
that TCC Wireless shared with him to assist Express Stores in accomplishing the same goals.

B. The Agreement is Reasonable in Scope.

“A restrictive covenant in an employment agreement is generally held to be enforceable if
it is reasonable in geographical and temporal scope and it is necessary to protect a legitimate
business interest of the employer.” Millard Maintenance Service Co. v. Bernero, 207 Il. App. 3d

736 (1990). Courts will also consider the unique facts and circumstances of the case when

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determining the reasonableness of a restrictive covenant. Shapiro v. Regent Printing Co., 192 Il.
App. 3d 1005, 1009 (1989).

Here, Defendant had a relatively high level position at TCC Wireless that gave him access
to inside information and trade secrets. He was the Senior Vice President of Sales and Marketing,
in charge of ALL TCC Wireless sales and marketing strategies, and strategic goals in growing its
business (including overseeing 1,500 employees). (V. Compl. §10.) To protect that information,
TCC Wireless required Defendant to execute an Agreement with restrictive covenants because any
subsequent employment in the retail cellular industry would necessarily involve Defendant
inevitably using TCC Wireless’ confidential information. TCC Wireless paid Defendant $120,000
upon signing the Agreement and an average of $400,000-$450,000 per year in compensation,
significantly higher than virtually any other employee in the wireless industry. (V. Compl. 423.)
Under these circumstances, the non-compete provision is reasonable.

Further, with respect to geographic area, the courts particularly look to whether the
restricted area is co-extensive with that in which the employee is doing business. Wessel Co. v.
Busa, 28 Ill. App. 3d 686 (1975). Defendant, as the Senior Vice President of Sales and Marketing,
did business on behalf of TCC Wireless throughout fourteen states in the Midwest and the east
coast. Although the covenants contain no geographic limitation, the restrictions imposed by the
covenants necessarily pertain to the area over which Defendant was responsible. Wolf & Co. v.
Waldron, 51 Ill. App. 3d 239 (1977). Defendant had a choice. He could have gone to a market
where TCC Wireless does not operate—such as the West Coast, Southwest United States, or the
Great Plains. Yet, he chose to obtain employment in the very geographic and sales markets in
which TCC Wireless operates and with another T-Mobile dealer (not another carrier such as

Verizon, AT&T or Sprint) competing directly against TCC Wireless for its market share.

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Alternatively, Defendant could wait one year. Defendant’s high compensation level provides him
with the ability to find a non-competitive position for a year before reentering the retail cellular
business. Instead, he chose to immediately violate his contract.

The covenant in Gorman Publishing Co. v. Stillman, 516 F. Supp. 98 (N.D. Ill. 1981), for
example, provided the defendant could not “directly or indirectly engage in a business directly
competitive with Company anywhere in the United States or the foreign areas where the Company
has done business.” Jd. at 101. The court held the provision was reasonably drawn to protect
plaintiff's interest because the defendant had “considerable knowledge” about plaintiff’s business:

The [defendant’s] intimate understanding of [plaintiff's] business gave [his new

employer] an unjustified competitive advantage. Certainly the Illinois Courts have

been willing to enforce non-compete clauses under closely analogous

circumstances. Jd.

With regard to the time limitation, the Agreement only contains a one-year limitation. This
one-year restriction is well within the established parameters for covenants not to compete in
Illinois. Courts have enforced restrains of longer duration. See, e.g., Donald McElroy, Inc. v.
Delaney, 72 Ill. App. 3d 285 (1979) (enforcing three-year restriction).

Even assuming arguendo that the activity restriction was overboard, this Court is permitted
to modify it under Section 7(c) of the Agreement. That provision provides:

Enforcement. .. . If any court determines that any covenant set forth in this Section

7, or any portion of any such covenant, is invalid or unenforceable, the remainder of

the covenants set forth in this Section 7 shall not be affected and shall be given full

force and effect, without regard to the invalid covenant or the invalid portion. If any

court determines that any covenant set forth in this Section 7, or any portion of any

such covenant, is unenforceable because of its duration or geographic scope, such

court shall have the power to reduce such duration or scope, as the case may be, and

to enforce such covenant or portion in such reduced form. .. .

(Agreement § 7(c).) Consistent with this contractual provision, Illinois courts will also modify a

restrictive covenant and enforce the modified agreement. See, e.g., Joy v. Hay Group, Inc., No.

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02-C-4989, 2003 WL 22118930 (N.D. Il. Sept. 11, 2003) (applying blue pencil doctrine to modify
the geographic and activity restriction it found to be overbroad).

Ill. TCC Wireless Faces Immediate and Irreparable Harm.

Illinois recognizes that ongoing competition itself as a sufficient basis for relief. See, é.2.,
Gold v. Ziff Communications Co., 196 Ill. App. 3d 425, 434 (1989) (“The failure of plaintiff to
show an actual loss is dispositive.”); U-Haul Co. v. Hindahl, 90 Ill. App. 3d 572, 577 (1980) (“It is
not necessary that a party seeking an injunction show an actual loss of sales before relief will be
granted”). Indeed, the injuries flowing from a violation of a non-compete agreement as “a
canonical form of irreparable harm,” because those injuries “are difficult to prove and quantify.”
Turnell v. CentiMark Corp., 796 F.3d 656, 666-67 (7" Cir. 2015). Because of the difficult to
quantify precise losses associated with a former employee’s decision to funnel trade secrets to its
competitor, the harm associated with that kind of unfair competition is presumed to be irreparable.
PrimeSource Building Products, Inc. v. Hutting Building Products, Inc., No. 16-cv-1 1390, 2017
WL 7795125 (N.D. Ill. Dec. 9, 2017). Indeed, the Agreement includes language whereby the
parties recognize that breach of the restrictive covenants constitutes irreparable harm.

That TCC Wireless cannot point to a precise customer that it will lose as a result of
Defendant’s activities is of no material consequence. “[I]t is precisely the difficulty of pinning
down what business has been or will be lost that makes an injury ‘irreparable.’” Hess Newmark
Owens Wolf, Inc. v. Owens, (7 Cir. ) “Competition changes probabilities,” a fact that makes it
difficult for businesses to easily “identify which contracts slipped from its grasp.” Jd. As such,
“irreparable harm is presumed in cases where a former insider lures customers away through a

competing business.” Cumulus Radio Corp. v. Olson, 80 F. Supp. 3d 390 (C.D Il. 2015).

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IV. The Balance of Harms Supports a TRO and Preliminary Injunction.

Last, courts are often tasked with “balancing harms” to the parties, specifically whether a
plaintiff will suffer greater harm without an injunction than a defendant will suffer if it is issued.
Buzz Barton & Assoc., Inc. v. Giannone, 108 Ill. 2d 373, 387 (1985). However, “i]t is well
established in Illinois that the [balancing harms] doctrine is inapplicable where a defendant’s
actions are done with full knowledge of the plaintiffs rights and with an understanding of the
consequences which might ensure.” Preferred Meal Sys., Inc. v. Guse, 199 Ill. App. 3d 710, 727
(1* Dist. 1990) (emphasis added). Here, Defendant was well aware of the terms of the Agreement
he negotiated. He was aware of its restrictive covenants, and that his breach would entitle TCC
Wireless to injunctive relief. Yet, he thumbed his nose at his contractual obligations.

Nevertheless, balancing of harms supports the issuance of injunctive relief. TCC Wireless
has demonstrated a high likelihood of success on its breach of contract claim. While an injunction
may deprive Defendant of his current job, it will require Defendant to abide by the terms of the
Agreement he voluntarily executed and for which he was compensated significantly. It leaves
Defendant with other employment opportunities in the telecommunications industry that does not
involve retail sales of cellular phones and services, and other sales opportunities similar to those he
had before working for TCC Wireless. It also leaves Defendant with other employment
opportunities in different markets, including the West Coast, Southwest, and Great Plains. Absent
an injunction, TCC Wireless loses the benefits of an enforceable contract. It suffers from the
uncertainty of lost business, as well as loss of employees, that it could have otherwise retained had
Defendant abided by the terms of his agreement. Further, there is no harm to Defendant if the
nonsolicitation covenants are enforced. Otherwise, TCC Wireless risks losing other employees for
which it has expended significant time and resources to hire, train, work, promote and develop for
higher level management.

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For restrictive covenants in employment contracts to have anything but a hollow meaning,
they must be enforced. Defendant, an intelligent and educated man, had been employed to TCC
Wireless in a high-level, well compensated position for three years, a position that gave him access
to confidential information. He signed the Agreement recognizing the confidentiality of the
information and agreed to the restrictive covenants. He should abide by what TCC Wireless
contracted and paid for.

Conclusion

For these reasons, TCC Wireless asks this Court to enter a TRO and Preliminary Injunction
preventing Defendant from continued employment with Express Stores, from violating the terms
of his non-compete, non-solicitation and confidentiality agreements with TCC Wireless, and for
any further relief that the Court deems just, equitable and proper.

Date: August 29, 2019 Respectfully submitted,
TCC WIRELESS, LLC

By:___/s/ Louis J. Phillips

Louis J. Phillips

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EXHIBIT 1
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Return Date: No return date scheduled 12-Person Jury
Hearing Date: 12/27/2019 10:00 AM - 10:00 AM
Courtroom Number: 2410 FILED
Location: District 1 Court 8/29/2019 11:30 AM
Cook County, IL IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS | DOROTHY BROWN
COUNTY DEPARTMENT, CHANCERY DIVISION Conia ounty IL
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8 VERIFIED COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF
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TCC Wireless, LLC (“TCC Wireless”), through its undersigned counsel, complains
against Defendant Kenneth Siller as follows:

The Parties

1. TCC Wireless is a Delaware limited liability company, with its principal place of
business in Illinois. Therefore, TCC Wireless is a citizen of Illinois.

2. Defendant is an individual who resides in the State of New York. Defendant
continuously and systematically entered the State of Illinois to transact business, among other
things, by traveling to Illinois on numerous occasions in connection with the contracts and
business relationships more fully described below.

3. Defendant consented to exclusive jurisdiction and venue in Illinois,

4, This Court has jurisdiction over Defendant pursuant to 735 ILCS 5/2-209
because, among other things, Defendant operates business in Cook County, Illinois and the
parties entered into a contract or promise substantially connected to IHinois. Additionally,
Defendant consented to exclusive jurisdiction and venue in Illinois and during his employment

with TCC Wireless conducted business in Cook County.

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5. Venue is proper in this Court pursuant to 735 ILCS 5/2-101 because Defendant is
a nonresident of the State of Illinois.

General Allegations

6. TCC Wireless is an authorized independent dealer for T-Mobile, USA, Inc. TCC
Wireless has retail stores that sell both cellular phones and related accessories and cellular phone
plans, among other things, for T-Mobile.

7. The geographic scope of TCC Wireless’ business is expansive. TCC Wireless has
offices and retail stores in Illinois, as well as thirteen other states throughout the country. TCC
Wireless’ market encompasses retail stores in the following states: Connecticut, Florida,
Georgia, Illinois, Indiana, lowa, Massachusetts, New York, New Jersey, Ohio, Pennsylvania,
Rhode Island, South Carolina and Wisconsin.

8. The wireless and cellular phone industry is very competitive. Several companies
compete with TCC Wireless in the very same market for the same customers and the same sales
channels. Moreover, TCC Wireless’ success depends heavily on its ability to identify, negotiate,
and lease retail space that is favorable for the operation of its business, and to identify
appropriate markets for penetration. For these reasons, executives within the cellular phone
retail industry are particularly competitive, as retail operators are constantly seeking information
regarding expansion and market opportunities.

9. TCC Wireless spends substantial resources of time and hundreds of thousands of
dollars to develop, cultivate and retain favorable relationships with its customers, to identify
valuable market space, and to identify potential opportunities for business growth.

10. On or about December 1, 2016, TCC Wireless hired Defendant as its Senior Vice

President of Sales and Marketing. In that position, Defendant was in charge of all of TCC

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Wireless’ sales and marketing strategies and strategic goals in growing its business, including
overseeing 1,500 employees.

Ll, In connection with Defendant’s employment with TCC Wireless, Defendant
signed and agreed to the terms of an Employment Agreement. The Employment Agreement is
attached as Exhibit A. Defendant negotiated the terms of the Employment Agreement with TCC
Wireless.

12, Pursuant to the terms of the Employment Agreement, Defendant acknowledged
that he fully understood the contents of the Employment Agreement and was encouraged to seek
independent legal counsel before he voluntarily executed the Employment Agreement.
(Employment Agreement { 15(g), Ex. A.)

13. The Employment Agreement contains, among other things, a non-compete
provision, which provides, in relevant part:

[During the period commencing on the Effective Date [December 1, 2016] and

ending upon the expiration of one (1) year from the date that Executive ceases to

be employed by the Company or any of its Affiliates for any reason (the

“Covenant Period”), engage, or compete with any Protected Party, in the

Business, or any facet of the Business anywhere within the United States of

America, as an employee, independent contractor or otherwise;

(Employment Agreement § 7(a)(i), Ex. A.) The “Business” is further defined as “operating
wireless phone stores and the sale of wireless phones, accessories and related products and
services, as the Company determines from time to time (all such activities and services provided
by the Company and any and all other businesses and operations in which the Company may
hereafter engage).” (/d., Recitals(A), Ex. A.)

14. The non-compete provision of the Employment Agreement is reasonable as to the

duration, geographic area and line of business that TCC Wireless now seeks to protect. The non-

compete provision is designed to protect TCC Wireless’ reasonably competitive business

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information, including confidential information relating to its finances and business performance,
employee compensation structure, employee commission structure, information regarding TCC
Wireless’ proprietary operational technology platform, sales strategies, business plans,
operations, market strategies, and strategies for growth and sales, including plans for target
acquisitions.

15. The Employment Agreement also contains a non-solicitation provision, which
provides, in relevant part, as follows:

ill. during the Covenant Period divert from any Protected Party, or by aid of
others, do anything which would cause diversion from any Protected Party, of any
business with any Customer or supplier with which such Protected Party has any
contact or association in connection with the business; or

iv. during the Covenant Period, solicit, induce or attempt to induce, either
directly or indirectly, any employee or independent contractor of any Protected
Party, (A) to change his, her or its contractual relationship with any Protected
Party, (B) to leave the employment of or terminate his, her or its contractual
relationship with any Protected Party, or (C) enter into the employ of or a
contractual relationship in which Executive [Siller] has any interest whatsoever,
or any competitor of any of the Protected Parties.

(Employment Agreement { 7(a), Ex. A.)
16. The Employment Agreement contains, among other things, a confidentiality
provision that defines Confidential Information as follows:

In order to facilitate the provision of Executive’s [Siller’s] services to the
Company [TCC Wireless] under this Agreement, the Company has disclosed and
will disclose information it considers proprietary and confidential. This
information may include, without limitation: (a) business financial, marketing and
operational plans; (b) forecasts and projections; (c) sales plans and data; (d)
information which relates to the Company’s proprietary products, prototypes or
plans; (e) customer lists and information; (f) the Company’s listing information;
and (g) other information whether or not identified as confidential of a
confidential and non-public nature (collectively “Confidential_Information”);
provided, however, that Confidential Information shall not include any
information: (x) prior to the Effective Date, was generally publicly available; (y)
becomes publicly available without fault of or action on the part of Executive; or
(z) is acquired by Executive following the cessation of employment with, or as a

 

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member of, the Company from a third party (other than a Protected Party), free
from any restrictions as to its disclosure.

(Employment Agreement { 9, Ex. A.)

17. | The Employment Agreement’s confidentiality provision requires Defendant to
safeguard TCC Wireless’ Confidential Information. The Employment Agreement provides, in
that regard, as follows:

(a) Executive agrees to hold Confidential Information in the strictest
confidence. Executive will not disclose the Confidential Information to a third

party;

(b) —_ Executive will not, at any time, use Confidential Information in
any fashion, form, or manner, except to facilitate the provision of services by
Executive on behalf of the Company;

(c) Confidential Information may not be copied or reproduced without
the Company’s prior written consent;

(d) | Confidential Information shall at all times remain the sole property
of the Company. Executive shall have no license, ownership rights, or any other
rights or interests in the Confidential Information. Confidential Information
disclosed by the Company, including any copies thereof, shall be returned to the
Company by Executive upon request by the Company; provided, however, that
upon termination of this Agreement, Executive shall retum any Confidential
Information within ten (10) days of such termination, without any request by the
Company necessary or required.

(Employment Agreement 9, Ex. A.)

18. By signing the Employment Agreement, Defendant agreed that the restrictions set
forth in the restrictive covenant provisions of the Employment Agreement, among others, are
“reasonable and valid in geographical and temporal scope and in all other respect.”
(Employment Agreement  7(c), Ex. A.)

19. As the Senior Vice President of Sales and Marketing, Defendant was in a position
where TCC Wireless shared with him and he otherwise acquired confidential and proprietary

information regarding, among other things, the following:

(a) its finances and business performance. Defendant received, among other

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things, regular financial reports on sales, earnings, business margins, employee
compensation structures, employee commission structures, as well as details on TCC
Wireless’ proprietary operational technology platform;

(b) _ its business plans including, but not limited to, information regarding TCC
Wireless’ growth and sales strategy, including but not limited to TCC Wireless’ plans to
target acquisitions in the next several years; and

(c) TCC Wireless’s sales strategies, the performance of many of its retail
stores through the country, including performances of individual employees.

20. TCC Wireless relied on Defendant’s agreement to be bound by the terms of the
Employment Agreement is sharing its Confidential Information with him.

21. As the Senior Vice President of Sales and Marketing, Defendant worked with
TCC Wireless’ customers and sales channels with whom TCC Wireless maintains relationships
nationwide.

22. During the course of Defendant’s employment with TCC Wireless, he became
familiar with, among other things, the manner in which TCC Wireless operates, and its sensitive
information regarding its business such as its compensation structures, employee commission
structure and payouts, proprietary operational technological platform, employment strategies,
strategic growth plans, sales volumes, business profitability, weaknesses, as well as sales goals
and targets, which apply to its stores nationwide.

23. Defendant was hired because of his background in the cellular phone industry.
Recognizing that he would bring unique talent to TCC Wireless in a way to expand its business,
TCC Wireless provided Defendant with a $120,000 signing bonus and one of the highest salaries

in the business, averaging from $400,000-$450,000 per year. In turn, Defendant agreed to an

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Employment Agreement that contained restrictive covenants, which were negotiated between the
parties. Based on these covenants, TCC Wireless introduced Defendant to its proprietary and
unique internal operations, software and back office operations.

24. Effective on or about August 5, 2019, Defendant voluntarily resigned from his
position as Senior Vice President of Sales and Marketing for TCC Wireless.

25. On or about August 22, 2019, Defendant became employed with Express Stores,
which is a direct competitor of TCC Wireless. (See Announcement, Ex. B.) Like TCC Wireless,
Express Stores is an authorized independent dealer for T-Mobile, USA, Inc. and is in the
business of selling sell both cellular phones and related accessories and cellular phone plans,
among other things, for T-Mobile in many of the exact markets in which TCC Wireless operates
its business and retail stores. Defendant did not choose another wireless carrier (e.g., non-T-
Mobile) or even a T-Mobile dealer outside the markets in which TCC Wireless operates.

26. Defendant is now representing Express Stores in competition with TCC Wireless,
immediately after and within a one-year period of terminating his employment with TCC
Wireless,

27. On or about August 22, 2019, in violation of the non-solicitation provision in the
Employment Agreement, Defendant, directly or indirectly, solicited Michael Erra, an employee
of TCC Wireless to terminate his employment with TCC Wireless and to commence
employment with Express Stores.

28. TCC Wireless entered into the Employment Agreement containing the above
provisions to protect its interest in its Confidential Information and to protect its interest in its
customers. TCC Wireless also entered the Employment Agreement to protect its employment

workforce from the possible poaching of employees with confidential information, to protect the

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costs associated with recruiting and hiring employee, to ensure a stable workforce necessary to
ensure the stable growth of its business, and to prevent an en masse of resignations. Based on
these covenants, TCC Wireless introduced Defendant to the rest of its management team,
regional managers, district managers, and sales representatives. TCC Wireless has a protectable
interest in enforcing the terms of the non-compete, non-solicitation and confidential provisions
of the Employment Agreement.

29. The Confidential Information and knowledge Defendant currently retains are part
of his thoughts and mental impressions, and, upon information and belief, his continued work
with Express Stores creates the likelihood of the inevitable disclosure of the Confidential
Information that are necessary and permanently maintained as part of his thoughts and mental
impressions, Defendant cannot help but use his knowledge of TCC Wireless’ compensation and
commission structures, employment strategies, the proprietary operational technology platform,
his knowledge of planned acquisition and market strategies, and his knowledge of existing
products. Even if Defendant were to agree not to disclose any of this information, such an
agreement would be completely ineffective because the Confidential Information acquired by
Defendant during his employment by TCC Wireless is exactly the type of information that any
sales manager needs and must use to effective compete in the retail cellular phone industry.

30. Express Store’s employment of Defendant further threatens to, and will inevitably
result in the disclosure of TCC Wireless’ Confidential Information. As a former Vice President
of Sales and Marketing, virtually all of TCC Wireless’ Confidential Information will assist
Defendant in targeting markets, targeting employees and will enable Defendant to directly

compete with TCC Wireless.

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31. Defendant agreed that in the event that he violated the restrictive covenants,
among other things, TCC Wireless would be entitled to injunctive relief (Employment
Agreement {ff 7(c), 10, Ex. A.) The Employment Agreement provides:

Specific Performance. In the event of a breach or attempted breach of any of the

covenants set forth in Section 7, Section 8 or Section 9, in addition to any and all

legal and equitable remedies immediately available, such covenants may be

enforced by a temporary and/or permanent injunction. The parties agree that the

remedy at law for a breach or threatened breach of any of the covenants set forth in

Section 7, Section 8 or Section 9 would be inadequate.

(Employment Agreement { 10, Ex. A.)

32. Defendant has previously revealed Confidential and proprietary information
during the course of his employment in July 2018, when he met with senior management of T-
Mobile and a prospective new partner in the T-Mobile dealer channel and disclosed confidential
operational and financial information of TCC Wireless without its consent. TCC Wireless is
rightfully concerned that Defendant will continue to disclose its Confidential Information now

that he is no longer employed with the Company.

COUNT I
Breach of Contract

33. | TCC Wireless incorporates the allegations contained in paragraphs | through 32
above as if full restated herein.

34. | The Employment Agreement is a valid and enforceable agreement.

35. By signing the Employment Agreement and accepting the consideration offered,
Defendant agreed to be bound by, among other things, reasonable non-compete and non-

solicitation covenants and to never disclose any Confidential Information.

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36. By working for Express Stores after and within a one-year period after
terminating his employment with TCC Wireless, Defendant has breached the non-compete
provision of the Employment Agreement.

37. By soliciting an employee of TCC Wireless to leave his employment with TCC
Wireless to work for Express Stores, Defendant has breached the non-solicitation provision of
the Employment Agreement.

38. As an employee of Express Stores, Defendant already has breached the terms of
the reasonable non-compete and non-solicitation provisions in the Employment Agreement, and
it is inevitable that he will continue to breach the Employment Agreement in a number of ways,
including, but not limited to, his continued employment and work with Express Stores, providing
confidential information to Express Stores, and soliciting or otherwise influencing and inducing
(whether directly or indirectly) TCC Wireless employees to leave their employment with TCC
Wireless to work for Express Stores, and soliciting or otherwise influencing and inducing
(whether directly or indirectly) TCC Wireless’s customers to do business with Express Stores
instead of with TCC Wireless.

Injunctive Relief

39. TCC Wireless incorporates paragraphs 1 through 38 above as if fully restated
herein in support of its request for injunctive relief.

40. TCC Wireless took reasonable efforts to maintain its secrecy of its Confidential
Information, which provide actual and expected economic value to TCC Wireless.

41. Defendant’s work for and/or employment with Express Stores has, upon
information and belief, caused and will continue to cause, TCC Wireless irreparable injury and

financial damage by knowingly, unlawfully taking and utilizing TCC Wireless’s Confidential

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Information and trade secrets and knowingly exploiting that information to his own advantage
and the advantage of Express Stores. TCC Wireless has been damaged and will continue to be
damaged in the form of lost competitive position and advantage, potential loss of employees,
potential lost customers, revenue, and good will and other immeasurable, unquantifiable and
irreparable injuries.

42. Defendant will, upon information and belief, either knowingly or through
inevitable disclosure of his knowledge of TCC Wireless’s trade secrets and Confidential
Information continue to unlawfully exploit TCC Wireless’s Confidential Information and trade
secret information unless enjoined by this Court.

43. The damage to TCC Wireless resulting from Defendant’s misappropriation of
Confidential Information and trade secrets will be difficult to quantify and, in all likelihood, will
be impossible to qualify with precision.

44. TCC Wireless is entitled to an order commanding Defendant, and any other
person acting together or in concert with him who possesses any document, record of
information of TCC Wireless, or any information derived therefrom, to return any and all
documents, records and data to TCC Wireless.

45. | TCC Wireless is further entitled to any injunction preventing the continued actual
or threatened misappropriation, use and disclosure of Confidential Information and trade secrets
obtained through or derived from Defendant’s theft.

46. The value of the Confidential Information to be protected, although difficult to
quantify monetarily, exceeds the value of $75,000. TCC Wireless spent hundreds of thousands

of dollars developing its products, strategies and customers. Moreover, the loss of only a few of

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its customers would exceed the value of $75,000. The value of the business managed by -
Defendant exceeded $1 million.

47. | Monetary damages alone are insufficient to prevent continuing and ongoing
damage and harm to TCC Wireless if Defendant continues his work and/or employment for
Express Stores in violation of the Employment Agreement as set forth herein and TCC Wireless
has no adequate remedy at law for Defendant’s breaches of contract, misappropriation of
Confidential Information and trade secrets because TCC Wireless invested a significant amount
of time, money and energy to establish and foster its relationship with its customers and
employees. The destruction of one’s business relationship has long-term consequences because
these relationships evolve over many years of development resulting in increased business and
revenue over the life of the relationship. Consequently, the damage suffered by TCC Wireless is
difficult to calculate because it cannot be clearly determined how much revenue any specific
relationship would have created.

48. If Defendant is permitted to continue to work for a competitor in violation of his
non-compete and to continue to solicit TCC Wireless employees and use TCC Wireless’s
Confidential Information and trade secrets, TCC Wireless will suffer additional irreparable harm.

49. TCC Wireless is justifiably concerned that any additional actions by Defendant
will have tremendous impact on its goodwill, reputation and business.

50. TCC Wireless is entitled to injunctive relief specifically prohibiting Defendant
from working for Express Stores and from using information he learned and had access to while
employed at TCC Wireless.

51. Equities favor granting TCC Wireless an injunction. TCC Wireless has complied

with all material terms of the Employment Agreement. Defendant, on the other hand, has

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violated, is violating, and will continue to violate the non-compete provision of the Employment
Agreement by working for Express Stores.

WHEREFORE, Plaintiff TCC Wireless, LLC requests that judgment be entered in its
favor and against Defendant Kenneth Siller, as follows:

(A) An injunction temporarily, preliminarily, and permanently prohibiting Defendant
during the period ending August 5, 2020 from working for any competitor of TCC Wireless,
LLC, including Express Stores, in the following states: Connecticut, Florida, Georgia, Illinois,
Indiana, lowa, Massachusetts, New York, New Jersey, Ohio, Pennsylvania, Rhode Island, South
Carolina, and Wisconsin, and any other state in which TCC Wireless may engage within the
restrictive period;

(B) An injunction temporarily, preliminarily, and permanently prohibiting Defendant
during the period ending August 5, 2020 from soliciting, inducing or attempting to induce, either
directly or indirectly, an employee or independent contractor of TCC Wireless, LLC to change
his, her or its contractual relationship with TCC Wireless or to enter into the employ of or a
contractual relationship with Defendant, or an entity in which Defendant has an interest, or of
any competitor of TCC Wireless, LLC;

(C) An injunction temporarily, preliminarily, and permanently prohibiting Defendant
during the period ending August 5, 2020 from diverting from TCC Wireless, LLC, or by aiding
others, doing anything which would cause diversion from TCC Wireless, of any business with
any past or present customer or supplier of TCC Wireless, LLC with whom Defendant had any
contact or leamed of during his employment;

(D) An injunction temporarily, preliminarily, and permanently prohibiting Defendant

from using or disclosing any of TCC Wireless, LLC's Confidential Information;

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(E) Damages to be proven a trial in the amount in excess of $75,000 to which TCC

Wireless, LLC may be entitled; and

(F) | Awarding such other and further relief that TCC Wireless may be entitled, to the

extent permitted by applicable law, including its costs.

Date: August 29, 2019

Louis L. Phillips

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Chicago, IL 60606

(312) 551-8300

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parendia jaffelaw.com

Attorneys for TCC Wireless, LLC

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Respectfully submitted,

TCC WIRELESS, LLC

By: /s/ Louis J. Phillips
One of its attorneys
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VERIFICATION

 

I, Eric S. Tarasievich on behalf of TCC Wireless, LLC, do swear and affirm as follows:
Under penalties as provided by law pursuant to Se. 9 P09 of the Code of Civil
Procedure, the undersigned certifies that the statements sof ir he Verified Complaint are
true and correct, except as to matters therein stated to be g nif
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ation and belief and as to such
matters the undersigned certifies as aforesaid that he ves the same to be true.

Dated:_August 29, 2019

 

“YY , on behalf of TCC
Wireless, LLC

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EXHIBIT A
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EMPLOYMENT AGREEMENT

THIS EMPLOYMENT AGREEMENT (the "Agreement”) is made and entered into as of
December 1, 2016 (the "Effective Date") by and between TCC WIRELESS, LLC, a Delaware

limited liability company (the "Company"), and KENNETH SILLER ("Executive").
RECITALS:

A. The Company is engaged in the business of operating wireless phone retail stores and
the sale of wireless phones, accessories and related products and services, as the Company
determines from time to time (all such activities and services provided by the Company and any
and all other businesses and operations in which the Company may hereafler engage are
collectively hereinafter referred to as the “Business”) to various individual and company

customers of the Company (collectively, the “Customers”).

 

B. The Company wishes to employ Executive as the Company's Senior Vice President-
Sales and Marketing and desires to enter into an agreement with him setting forth the terms of

such a relationship.

C. Executive has the knowledge, experience and expertise to serve in such capacity and
desires to accept such employment with the Company on the terms and subject to the conditions

set forth below.
AGREEMENTS:

NOW, THEREFORE, for good and valuable consideration, the receipt and adequacy of
which are hereby acknowledged, the parties agree as follows:

1. Employment, Subject to the terms, covenants and conditions set forth in this
Agreement, the Company hereby agrees 10 employ Executive as the Company’s Senior Vice
President-Sales and Marketing. and Executive hereby accepts employment with the Company as
its Senior Vice President-Sales and Marketing.

2. Term. Subject to the termination provisions set forth in Section 5 below, the term
of Executive's employment with the Company under this Agreement shall commence on the
Effective Date and shall continue until the first anniversary of the Effective Date (the "Initial
Term"). At the conclusion of the Initial Term and any Renewal Term (as defined below)
thereafter, and unless terminated earlier, this Agreement shall automatically extend for an
additional one (1) year period, unless either party gives the other party written notice at least 60
days prior to the end of the then-current term of such party's intention not to renew this
Agreement for the following annual period (each a "Renewal Term" and, collectively with the

Initial Term, the “Term").

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3. Capacity and Performance. Throughout the Term of this Agreement:

(a) Executive shall serve the Company as its Senior Vice President-Sales and
Marketing on a full-time basis and shall perform such acts, duties and responsibilities
consistent with his position on behalf of the Company, as are customarily done and
performed by individuals holding such position in companies in similar businesses and of
similar size to the Company, and such other duties as may be designated from time to
time by the Company’s Chief Executive Officer or Chief Financial Officer, to whom the
Executive shall regularly report. The expenditure of reasonable amounts of time by
Executive for personal, charitable or investment activities shall not be deemed a breach of
this Agreement, provided that such activities do not interfere with the services required to
be rendered by Executive under this Agreement and are not contrary to the interests of the

Company.

(b) Executive shall devote his full business time and his reasonable best
efforts, business judgment, skill and knowledge exclusively to the advancement of the
business and interests of the Company and to the discharge of his duties and
responsibilities hereunder.

4. Compensation and Benefits. As compensation for all services performed by
Executive under this Agreement and during the Term:

(a) Base Salary. As compensation for the services to be performed under this
Agreement, the Company shall pay to Executive, during the Term, an annual salary (the
“Base Salary”) at the rate of $245,000.00 per annum, less applicable deductions, payable
in accordance with the Company’s usual payroll practices.

(b) Monthly Performance Bonus. For each calendar month, commencing with
December 2016, Executive shall be eligible to receive a monthly performance bonus (a

“Performance Bonus”) as follows:

i. Executive shal! receive a Performance Bonus in the amount set forth on

the attached Schedule A corresponding to the applicable Traffic
Conversion Percentage for such month (for purposes hereof, “Traffic

Conversion Percentage” means the traffic conversion percentage for the
Company on a consolidated basis as reported by T-Mobile’s Sharepoint

System).

ii. In addition to any Performance Bonus earned under subsection i. above,
Executive shall receive a $2,500 Performance Bonus for each month in
which the Company achieves at least 125% of the Key Sales Objectives

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No. | (KSO #1) established by T-Mobile for such month (as determined
by T-Mobile through its DCS system and final commission report for such
month) and Executive shall receive a $2,500 Performance Bonus for each
month in which the Company achieves at least 125% of the Key Sales
Objectives No. 2 (KSO #2) established by T-Mobile for such month (as
determined by T-Mobile through its DCS system and final commission

report for such month).

iii. Any earned Performance Bonus shall be paid in accordance with the
Company’s usual bonus/commission pay practices (typically within 60
days after the end of the calendar month for which the Performance Bonus

was eamed).

iv. Executive must be employed by the Company on the payment date to
receive any Performance Bonus.

(c) One-Time Signing Bonus. The Company shall pay Executive a one-time
signing bonus of $120,000.00, which shall be payable in equal quarterly increments of
$30,000.00 (less applicable deductions) within fifteen (15) days after the beginning of
each calendar quarter occurring in 2017.

(d) Paid Vacation Off. During the Term, Executive shall be entitled to four
weeks of paid vacation off annually. to be taken at such times and intervals as shall be
determined by Executive, subject to the reasonable business needs of the Company.

 

(e) Business Expenses. During the Term, the Company shal! pay or reimburse
Executive for reasonable, customary and necessary business expenses incurred or paid by
him in the performance of his duties and responsibilities hereunder, subject to such
reasonable substantiation and documentation as may be specified by the Company from

time to time.

(f) Other Benefits. During the term hereof, Executive shall be entitled to
participate in any and all employee benefit plans generally available from time to time to
senior management level employees of the Company (and for which Executive qualifies
under the terms of the plans). The Company may alter, modify, terminate, add to or
discontinue the employee benefit plans that are from time to time in effect for its
employees generally at any time as il, in its sole judgment, determines to be appropriate,
without recourse by Executive.

 

5. Termination.

(a) Termination upon Death or Disability. Executive's employment under this

Agreement shall terminate automatically upon Executive's death or if Executive becomes
Disabled. For purposes of this Agreement, Executive shall be deemed to be "Disabled" if
Executive becomes unable to perform the essential functions and responsibilities of his

 

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position with reasonable accommodation, as required under the Americans with
Disabilities Act, as the same has and may be amended (the "ADA"), by virtue of physical

or mental disability, as defined under the ADA.

(b) Termination by the Company for Cause. During the Term, the Company

may immediately terminate this Agreement for “Cause.” For purposes of this Agreement,
“Cause” shall mean, in each case as determined by the Company:

 

i. Executive’s material breach of any of the terms, provisions or
covenants contained in this Agreement which, after written notice from
the Company of such breach, has not been cured within thirty (30) days

after he receives such notice;

ii, Executive's conviction of or plea of guilty or nolo contendere to a
felony, misdemeanor or other crime that either (A) involves moral
turpitude, dishonesty, fraud, thefl, embezzlement, or financial
impropriety or (B) provides for a term of imprisonment,

iii. Executive’s commission of any act or omission constituting
misappropriation, unethical business conduct, disloyalty or breach of
fiduciary duty which is injurious to the Company, the specific nature of
which shall be set forth in a written notice by the Company to

Executive;
iv. Executive’s failure to adequately perform his duties, or failure to

follow the reasonable instruction of the Company, which after written
notice from the Company of such failure, has not been cured within

thirty (30) days after he receives such notice;
y. _ Executive’s misappropriation of funds or assets of the Company; or

vi. Executive fails to earn any Performance Bonus during a period of at
least three (3) months in any consecutive twelve (12) month period.

(c) Termination by Executive for Good Reason. Executive may terminate his
employment for Good Reason provided that (i) Executive has provided the Company
with thirty (30) days’ prior written notice setting forth in reasonable detail the basis for
such Good Reason and (ii) the Company has not cured the Good Reason within such
thirty (30) day period, in which case the Termination Date shall be the 30" day after
Executive gave such notice The following shall constitute “Good Reason” for

termination by Executive:

ji. A material reduction of the Base Salary; or

ii. The material removal or diminution of the authority, responsibilities

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or duties of Executive (other than any such authorities, duties or
responsibilities assigned at any time which are by their nature, or
which are identified at the time of assignment, as being temporary or
short term).

No condition enumerated in the preceding sub-sections (i) and (1i) will be deemed
to be Good Reason unless within 30 days of the initial existence of such condition, the
Executive will have given the Company written notice thereof specifically describing the
condition giving rise 10 Good Reason and allowing the'Company a period of 30 days
from the date of receipt of the notice to remedy such condition; and provided further,
however, in no event will a condition give rise to Good Reason hereunder unless, within
60 days after the initial existence of such condition, the Executive will have actually
terminated his employment with the Company by giving written notice of resignation for
failure of the Company to remedy such condition.

(d) Termination under other Circumstances. During the Term, either the
Company or the Executive may voluntarily terminate this Agreement upon thirty (30)
days’ advance written notice to the other party for any reason or no reason whatsoever, it
being understood that Executive's employment is at-will.

6. Effect of Termination of Employment.

(a) Upon the termination of this Agreement for any reason, the Executive
shall be entitled to, and the Company shall pay Executive, an amount equal to: (i) any
earned but unpaid Base Salary covering the period of employment prior to the effective
date of termination; and (ii) unreimbursed business expenses pursuant to Section 4 above.
Except as otherwise specified in this Section 6(a) or Section 6(b) below, Executive shall
not be entitled to any other compensation or benefits upon the termination of his
employment with the Company for any reason whatsoever,

(b) If Executive is terminated by the Company without Cause or if Executive
terminates his employment for Good Reason, then, subject to Executive signing and
delivering to the Company (and not revoking) a general release in favor of the Company.
in substantially the form attached hereto as Exhibit A, within 30 days following
presentation thereof, and provided that Executive complies with the covenants set forth in
Sections 7, 8, 9 and 12 below, in addition to the payments and benefits described in
Section 6(a), the Company shall continue to pay Executive, in accordance with the
Company’s regular payroll practice, Executive’s Base Salary for twelve (12) months, less
applicable deductions (the “Severance Compensation”); provided, however, that: (i) the
first payment of the Severance Compensation pursuant to this Section 6(b) shall be paid
on the 60" day following Executive’s termination of employment and shall include any
amounts due prior thereto, and (ii) if Executive is terminated by the Company without
Cause or if Executive terminates his employment for Good Reason prior to December 1,
2017, then the Severance Compensation shall only be paid for the balance of the Initial
Term. For the avoidance of doubt, the Executive shall not be entitled to the payments

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under this Section 6(b), if the Executive's employment is terminated as a result of the
Executive’s death, if the Executive becomes Disabled, if the Company terminates the
Executive's employment for Cause, or if the Executive voluntarily terminates his

employment with the Company without Good Reason.

7. Restrictive Covenants.

 

(a) Terms, The Company and Executive acknowledge and agree that for
Executive to compete with the Company during the time the Executive is employed by
the Company, and for a limited time thereafter, would be contrary to the purposes for
which the parties entered into this Agreement. In order to induce the Company to enter
into this Agreement, Executive covenants, warrants and agrees, for the benefit of the
Company, its parents, subsidiaries, successors and assigns (collectively, the "Protected
Parties”), that without first obtaining the express written consent of the Company, which
may be granted or withheld in the Company's sole and absolute discretion, Executive

shall not, either directly or indirectly:

j. during the period commencing on the Effective Date and ending upon the
expiration of one (1) year from the date that Executive ceases to be employed
by the Company or any of its Affiliates for any reason (the “Covenant
Period”), engage, or compete with any Protected Party, in the Business, or any
facet of the Business anywhere within the United States of America, as an
employee, independent contractor or otherwise;

 

ii. during the Covenant Period, have any ownership interest in (whether as a
shareholder, partner, member, associate, owner or otherwise), make any loan
to or investment in, any corporation, partnership, limited liability company,
association, trust, firm or other enterprise which is engaged in, or competes
with, any Protected Party in the Business, or any facet of the Business,
anywhere within the United States of America; provided, however, that
notwithstanding the foregoing, Executive may invest in any publicly-held
corporation engaged in the Business, if his aggregate investment does not
exceed one (1%) percent in value of the issued and outstanding capital stock

of such corporation;

iii. during the Covenant Period, divert from any Protected Party, or by aid of
others, do anything which would cause diversion from any Protected Party, of
any business with any Customer or supplier with which such Protected Party
has any contact or association in connection with the Business; or

iv. during the Covenant Period, solicit, induce or attempt to induce, either directly
or indirectly, any employee or independent contractor of any Protected Party,
(A) to change his, her or its contractual relationship with any Protected Party,
(B) to leave the employment of or terminate his, her or its contractual
relationship with any Protected Party, or (C) enter into the employ of or a

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contractual relationship with Executive, any entity in which Executive has any
interest whatsoever, or any competitor of any of the Protected Parties.

(b) Executive Representations. Executive hereby represents and warrants to
the Company that Executive is not in breach of any existing covenant not to compete,
nonsolicitation agreement, confidentiality agreement or other substantially similar
agreement, nor will Executive be in breach of any such agreement as a result of his
employment with, or performance of services for, the Company.

(c) Enforcement. The covenants set forth in this Section 7 shall be a series of
separate covenants, one for each and every state, county and other municipal division
within the United States of America. The covenants set forth in this Section 7 are
reasonable and valid in geographical and temporal scope and in all other respects. If any
court determines that any covenant set forth in this Section 7, or any portion of any such
covenant, is invalid or. unenforceable, the remainder of the covenants set forth in this
Section 7 shall not be affected and shall be given full force and effect, without regard to
the invalid covenant or the invalid portion. If any court determines that any covenant set
forth in this Section 7, or any portion of any such covenant, is unenforceable because of
its duration or geographic scope, such court shall have the power to reduce such duration
or scope, as the case may be, and to enforce such covenant or portion in such reduced
form. The Company and Executive confer jurisdiction to enforce the covenants set forth
in this Section 7 on the courts of any jurisdiction within the geographical scope of such
covenants. If the courts of any one or more of such jurisdictions hold the covenants set
forth in this Section 7, or any portion of any such covenant, unenforceable by reason of
the breadth of such scope or otherwise, such determination shall not bar or in any way
affect the right of any of the Protected Parties to the relief provided in the courts of any
other jurisdiction within the geographical scope of such covenants as to breaches of such

covenants in such other respective jurisdictions.
8. Intellectual Property Rights.

(a) Assignment of Inventions. Uxecutive recognizes that he may, individually
or jointly with others, discover, conceive, make, perfect or develop inventions,

discoveries, new contributions, concepts, ideas, developments, processes, formulas,
methods, compositions, techniques, articles, machines and improvements, and all original
works of authorship and all related know-how, whether or not patentable, copyrightable
or protectable as trade secrets for and on behalf of the Company pursuant to this
Agreement ("Inventions"). Executive agrees that all such Inventions are the sole and
exclusive property of the Company, all to the extent any such Inventions are capable of
ownership under applicable lav. EXECUTIVE AGREES THAT ANY PARTICIPATION
BY HIM IN A COPYRIGHTABLE WORK IS A WORK MADE FOR HIRE, AS
DEFINED IN TITLE 17, UNITED STATES CODE, TO THE EXTENT PERMITTED
BY LAW FOR THE SOLE AND EXCLUSIVE BENEFIT OF THE COMPANY AND
EXECUTIVE HEREBY ASSIGNS TO THE COMPANY ALL OF HIS RIGHTS IN
AND TO SUCH INVENTIONS. Executive shall maintain adequate and current written

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records of all Inventions, which shall remain the property of the Company, as applicable
and be available to the Company at all times. At the Company's request Executive shall
promptly sign and deliver all documents necessary to vest in the Company, all right, title
and interest in and to any Inventions. If the Company is unable, after reasonable effort, to
secure Executive's signature on any document needed to vest in the Company all right,
title and interest in and to any Inventions, whether because of Executive's physical or
mental incapacity or for any other reason whatsoever, Executive hereby irrevocably
designates and appoints the Company and its duly authorized officers and agents as
Executive's agent and attorney-in-fact, to act for and in Executive's behalf and stead to
execute and file any such document and to do all other lawfully permitted acts to further
the prosecution and enforcement of patents, copyrights or similar protections with the
same legal force and effect as if executed by Executive.

(b) Third Party Intellectual Property. Executive hereby represents and
warrants that he is not a party or subject to any agreements or other arrangements
protecting the trade secrets or other intellectual property of any third-party.

9. Confidentiality. In order to facilitate the provision of Executive's services to the
Company under this Agreement, the Company has disclosed and will disclose information it
considers proprietary and confidential. This information may include, without limitation: (a)
business, financial, marketing and operational plans; (b) forecasts and projections; (c) sales plans
and data; (d) information which relates to the Company's proprietary products, prototypes, or
plans; (e) customer lists and information; (f) the Company's listing information; and (g) other
information whether or not identified as confidential of a confidential and non-public nature
(collectively, "Confidential Information"); prov ided, however, that Confidential information shall
not include any information: (x) prior to the Fffective Date, was generally publicly available; (y)
becomes publicly available without fault of or action on the part of Executive; or (z) is acquired
by Executive following the cessation of his employment with, or as a member of, the Company
from a third party (other than a Protected Party), free of any restrictions as to its disclosure. In

connection therewith, the parties agree that:

(a) Executive agrees to hold the Confidential Information in the strictest
confidence. Executive will not disclose the Confidential Information to any third party.

(b) Executive will not, at any time, use the Confidential Information in any
fashion. form, or manner, exccpt to facilitate the provision of services by Execulive on

behalf of the Company.

(c) Confidential Information may not be copied or reproduced without the
Company's prior written consent.

(d) Confidential Information shall at all times remain the sole property of the
Company. Executive shall have no license, ownership rights, or any other rights or
interests in the Confidential Information. Confidential Information disclosed by the
Company, including copies thereof, shall be returned to the Company by Executive upon

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request by the Company; provided, however, that upon termination of this Agreement,
Executive shall return any Confidential Information within ten (10) days of such
termination, without any request by the Company being necessary or required.

10. Specific Performance. In the event of a breach or attempted breach of any of the
covenants set forth in Section 7, Section 8 or Section 9, in addition to any and all legal and
equitable remedies immediately available, such covenants may be enforced by a temporary
and/or permanent injunction. The parties agree that the remedy at law for a breach or threatened
breach of any of the covenants set forth in Section 7, Section 8 or Section 9 would be inadequate.

11. Key Man Insurance. Executive agrees that the Company may obtain a “key man”
life insurance policy on Executive’s life, at the Company’s sole expense and with the Company
as the sole beneficiary thereof. Executive shall (i) cooperate fully with the Company in obtaining
such life insurance, (ii) sign any necessary consents, applications and other related forms or
documents, and (iii) take any required medical examinations.

12. Cooperation. Following termination of the Executive's employment for any
reason, at the request of the Company, (i) the Executive shall, during the three month period
following termination of employment, (A) cooperate with the Company in transitioning his
duties and activities on behalf of the Company to one or more executives of the Company. and
(B) provide information and other assistance relating to the business operations and activities of
the Company to representatives of the Company, as requested by the Company; and (ii) the
Executive shall cooperate with the Company in connection with any litigation or regulatory
matters in which the Executive may have relevant knowledge or information. The Company
shall reimburse the Executive for the reasonable expenses and costs incurred by him in

connection with such cooperation and assistance.

13. Indemnification. Subject to limitations imposed by law, the Company shall
indemnify and hold harmless Executive to the fullest extent permitted by law from and against
any and all claims, damages, expenses (including reasonable attorneys’ fees), judgments,
penalties, fines, settlements, and all other liabilities actually and reasonably incurred or paid by
him in connection with the investigation, defense, prosecution, settlement or appeal of any
threatened, pending or completed action, suit or proceeding, whether civil, criminal,
administrative or investigative and to which Executive was or is a parly or is threatened to be
made a party by reason of the fact that Executive is or was an officer. employee or agent of the
Company, or by reason of anything done or not done by Executive in any such capacity or
capacities, provided that Executive complied with his obligations under this Agreement,
Executive acted in good faith, in a manner that was not grossly negligent or constituted willful
misconduct and in a manner he reasonably believed to be in or not opposed to the best interests
of the Company, and, with respect to any criminal action or proceeding, had no reasonable cause
to believe his conduct was unlawful. The Company also shall pay any and all expenses
(including reasonable attorney's fees) incurred by the Executive as a result of the Executive being
called as a witness in connection with any matter involving the Company and/or any of its

officers or managers.

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14. Notices. All notices, requests, consents and other communications, required or
permitted to be given under this Agreement shall be personally delivered in writing or shall have
been deemed duly given when received after it is posted in the United States mail, postage
prepaid, registered or certified, return receipt requested addressed as set forth below. In addition,
a party may deliver a notice via another reasonable means that results in the recipient party
receiving actual notice, as conclusively demonstrated by the party giving such notice.

If to the Company:

TCC Wireless, LLC

565 Randy Road

Carol Stream, Illinois 60188
Email: jay@tecmobile.com
Fax:

Attn: Mr. Javed Malik

If to Executive:

Kenneth Siller

10535 Keller Road
Clarence, New York 14031
Email: ksiller@hotmail.com
Fax: een

15. Miscellaneous.

(a) The failure of any party to enforce any provision or protections of this
Agreement shall not in any way be construed as a waiver of any such provision or
provisions as to any future violations thereof, nor prevent that party thereafter from
enforcing each and every other provision of this Agreement. The rights granted the
parties herein are cumulative and the waiver of any single remedy shal] not constitute a
waiver of such party's right to assert all other legal remedies available to it under the

circumstances.

(b) This Agreement has been executed in, and shall be construed and
enforced in accordance with the laws of the State of Illinois, without regard to the
conflict of law rules of such state. The state and federal courts sitting in the state of
Ilinois shall have exclusive jurisdiction over any and all disputes arising out of or
relating to this Agreement. Each party to this Agreement irrevocably and unconditionally
(i) consents to the exclusive jurisdiction of such courts in respect of any action, suit or
proceeding arising out of or relating to this Agreement, (ii) waives any defense of lack of
personal jurisdiction in such courts in respect of any action, suit or proceeding arising out
of or relating to this Agreement, and (iii) waives any objection to the laying of venue of
any action, suit or proceeding arising out of or relating to this Agreement,

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(c) The provisions of this Agreement are severable and if anyone or more
provisions may be determined to be illegal or otherwise unenforceable, in whole or in
part. the remaining provisions and any partially unenforceable provision to the extent
enforceable in any jurisdiction nevertheless shall be binding and enforceable.

(d) This Agreement sets forth the entire understanding and agreement of
Executive and the Company with respect to its subject matter and supersedes all prior
understandings and agreements, whether written or oral, in respect thereof. No
modification, termination or attempted waiver of this Agreement shall be valid unless in
writing and signed by the party against whom the same is sought to be enforced.

(e) The rights and obligations of Company under this Agreement shall inure
to the benefit of, and shall be binding on, Company and its successors and assigns. This
Agreement is personal to Executive and he may not assign his obligations under this
Agreement in any manner whatsoever and any purported assignment shall be void. For
all purposes under this Agreement, the term “Company” shall include any successor to
Company's business and/or assets that assume the Company's rights and obligations

under this Agreement.

(f) The headings and captions used in this Agreement are for convenience of
reference only and shall not be considered in interpreting this Agreement.

(g) Each party expressly represents and warrants to each other that: (i) before
executing this Agreement, such party has fully informed itself of the terms, contents,
conditions and effects of this Agreement; (ii) such party has relied solely and completely
upon its own judgment in executing this Agreement; (iii) such party has been advised to
and has had the opportunity to seek the advice of counsel before executing this
Agreement; (iv) such party, whether or not it chose to seek the advice of counsel, has
acted voluntarily and of its own free will in executing this Agreement; (v) such party,
whether or not it chose to seek the advice of counsel, is not acting under duress, whether
economic or physical, in executing this Agreement; and (vi) and such party, if it chose
not to seek the advice of counsel, shall not raise any claims against the enforcement of
this Agreement that arise from its decision not to do so.

(h) This Agreement may be executed in any number of counterparts, each of
which shall be deemed an original and all of which together shall constitute one and the
same document, and copies (facsimile, photostatic, electronic or otherwise) of signatures
to this Agreement shall be deemed to be originals and may be relied upon to the same
extent as though such copy, fax or electronically transmitted signature was an original.

(i) Any payments provided for in this Agreement shall be paid net of any
applicable income tax withholding required under federal, state or local law.

16. Survival. Sections 6, 7, 8, 9, 10, 12 and 13 will survive and continue in full force
in accordance with their terms notwithstanding any termination of this Agreement.

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17. Section 409A. It is intended that this Agreement will be exempt from, or comply,

with Section 409A of the Internal Revenue Code of 1986, as amended (the “Code”) and any
regulations and guidelines promulgated thereunder (collectively, “Section 409A”), and the
Agreement shall be interpreted on a basis consistent with such intent. No action or failure to act
pursuant to this Section 17 shall subject the Company to any claim, liability, or expense, and the
Company shall not have any obligation to indemnify or otherwise protect Executive from the
obligation to pay any taxes, interest or penalties pursuant to Section 409A. Notwithstanding any
provision to the contrary in this Agreement, if Executive is deemed on the date of his “separation
from service” (within the meaning of Treas. Reg. Section 1.409A-1(h)) with the Company to be a
“specified employee” (within the meaning of Treas. Reg. Section 1.409A-1(i)), then with regard
to any payment or benefit that is considered deferred compensation under Section 409A payable
on account of a “separation from service” that is required to be delayed pursuant to Section
409A(a)(2)(B) of the Code (after taking into account any applicable exceptions to such
requirement), such payment or benefit shal) be made or provided on the date that is the earlier of
(i) the expiration of the six (6)-month period measured from the date of Executive’s “separation
from service,” or (ii) the date of Executive's death (the “Delay Period”). Upon the expiration of
the Delay Period, all payments and benefits delayed pursuant to this Section 17 (whether they
would have otherwise been payable in a single sum or in installments in the absence of such
delay) shall be paid or reimbursed to Executive in a lump sum and any remaining payments and
benefits due under this Agreement shall be paid or provided in accordance with the normal
payment dates specified for them herein. Notwithstanding any provision of this Agreement to the
contrary, for purposes of any provision of this Agreement providing for the payment of any
amounts or benefits upon or following a termination of employment that are considered deferred
compensation under Section 409A, references to Executive's “termination of employment” (and
corollary terms) with the Company shall be construed to refer to Executive’s “separation from
service” (within the meaning of Treas. Reg. Section 1.409A-1(h)) with the Company. Whenever
payments under this Agreement are to be made in installments, each such installment shall be
deemed to be a separate payment for purposes of Section 409A.

[Signatures on following page]

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IN WITNESS WHEREOF, the parties have executed this Employment Agreement as of

the day and year first above written.

COMPANY:

TCC WIRELESS, LLC, a Delaware limited liability
company

yO) A

Print Name: JaveR PIAUK,
Its: €€a : _

EXECUTIVE:

  

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[Signature Page to Employment Agreement]

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Exhibit A
Form of Release

For good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, Kenneth Siller (“Executive”) hereby delivers this Release (“Release”) to TCC
Wireless, LLC, a Delaware limited liability company (the “Employer”) in connection with the
termination of Executive’s employment with Employer and its subsidiaries. Capitalized terms
used but not otherwise defined herein shall have the meaning ascribed to such terms in that
certain Employment Agreement dated as of December 1, 2016, by and between Employer and

Executive (the “Employment Agreement”).

1, Executive Release of Rights. Except for the payments to be made following the
Termination Date to Executive pursuant to Section 6 of the Employment Agreement, Executive
(defined for the purpose of this Section | as Executive and Executive’s agents, representatives,
attorneys, assigns, heirs, executors, and administrators) fully and unconditionally releases
Employer, its subsidiaries and each of its respective past or present employees, agents, insurers,
attorneys, administrators, officers, directors, shareholders, members, managers. parents,
predecessors, successors. employce benefit plans, and the sponsors, fiduciaries, or administrators
of Employer’s employee benefit plans (collectively, the “Released Parties”) from, and agrees not
to bring any action, proceeding, or suit against any of the Released Parties regarding, any and all
liabilities, claims, demands, actions, causes of action, suits, grievances, debts, sums of money,
agreements, promises, damages, back and front pay, costs, expenses, attorneys’ fees, and
remedies of any type. from the beginning of time to the date hereof, including, without limitation,
any liability arising or that may have arisen out of or in connection with Executive’s employment
with, or termination of employment from, Employer, including, but not limited to, claims,
actions or liabilities under (1) Title VII of the Civil Rights Act of 1964, the Civil Rights Act of
1991, the Civil Rights Act of 1866, the Age Discrimination in Employment Act, the Americans
with Disabilities Act, the Fair Labor Standards Act, the Family and Medical Leave Act. the
Worker Adjustment and Retraining Notification Act, the Older Workers Benefit Protection Act,
and the Employee Retirement Income Security Act of 1974; (2) any other federal, state or local
statute, ordinance, or regulation regarding employment, termination of employment, or
discrimination in employment, and (3) the common law of any state relating to employment
contracts, wrongful discharge. defamation, or any other matter, provided, however, that
Executive is not releasing, and is not agreeing to forego bringing any action, suit or proceeding
regarding (A) any claim that cannot be legally released, (B) any claim based upon any vested
benefits Executive may have under any employee welfare benefit plan of Employer or its
subsidiaries, or (C) any of his rights under this Release.

 

 

2. Waiver of Reinstatement. Executive waives any reinstatement or future

employment with Employer or its subsidiaries and agrees never to apply for employment or
otherwise seek to be hired, rehired, employed, re-employed, or reinstated by Employer or any of

its subsidiaries.

 

3, Severability. The provisions of this Release shall be severable and the invalidity
of any provision shall not affect the validity of the other provisions; provided, however, that upon
a finding by a court of competent jurisdiction that any release in Section 1 above is illegal, void

 

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or unenforceable, Executive agrees to execute promptly a release and covenant that is legal and
enforceable.

4, Governing Law. This Release shall be governed by and construed in accordance
with the laws of the State of Hlinois without regard to conflicts of laws principles that would
cause any state’s laws, other than the laws of the State of Illinois, to apply.

5. Scope_of Release. Executive understands that he remains bound to those
provisions in his Employment Agreement that survive the termination of his employment in
accordance with Section 7, 8 and 9 thereof. Except as specifically set forth in such provisions,
this Release contains the entire agreement and understanding between Executive and Employer
conceming the matters described herein, and supersedes all prior agreements, discussions,
negotiations, understandings and proposals of the parties. The terms of this Release cannot be
changed except in a subsequent document signed by both parties.

6. Revocation Period. Executive has the right to revoke this Release solely with
regard to his release of claims under the Age Discrimination in Employment Act and the Older
Workers Benefit Protection Act for up to seven (7) days after he signs it. In order to revoke this
Release, Executive must sign and send a written notice of the decision to do so, addressed to
Employer, and that written notice nust be received by Employer no later than the eighth (8'") day
after Executive signed this Release. If Executive revokes this Release, Executive will not be
entitled to any consideration from Employer described in Section 6 of the Employment

Agreement,

 

7. Knowing and Voluntary Waiver. Executive acknowledges that:

a. Executive has carefully read this Release and fully understands its
meaning;

b. Executive had the opportunity to take up to 21 days after receiving this
Release to decide whether to sign it;

c. Executive understands that Employer is hereby advising him, in writing, to
consult with an attorney before signing it;

d. Executive is signing this Release, knowingly, voluntarily, and without any
coercion or duress; and

e. Everything Executive is receiving for signing this Release is described in
the Employment Agreement or this Release and no other promises or
representations have been made to cause Executive to sign il,

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IN WITNESS WHEREOF, Executive has executed this Release as of the date below.

EXECUTIVE:

Dated: __// [xollo Leth, LL

 

 

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SCHEDULE A

Traffic Conversion Bonus

 

 

 

 

 

 

 

 

 

 

 

Traffic Conversion Percentage Performance Bonus
Less than 9% 0

At least 9% but less than 10% $5,000.00

At least 10% but less than 10.5% $7,500.00

At least 10.5% but less than 11% $12,000.00

At least 11% but less than 11.5% $15,000.00

At least 11.5% but less than 12% $17,500.00

At least 12% $20,000.00

 

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EXHIBIT B
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From: Andrea Sealey <asealey@expmgnt.com>
Date: Tuesday, August 20, 2019 at 8:57 AM

To: Andrea Sealey <asealey@expmant.com>
Subject: IMPORTANT Organizational Announcement

[External]

 

 

 

 

August 20, 2019

At Express, we are committed to the continued growth of our employees and the company as a
whole. We are always looking for new ways to bring both our employees and our company to
the Next Level while not losing sight of our Employee First initiatives. {tis in the spirit of
continued growth and positioning ourselves to be in the best spot for potential expansion that
Express Stores is excited to announce the following organizational changes that will go into
effect on Monday, August 26, 2019.

   

Ryan Warner: Ryan has been with Express since joining as the Vice President of Sales in
2012. In 2017, Ryan was promoted to Chief Operating Officer, leading the way through multiple
growth and expansion opportunities while overseeing the day to day operations of the
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company. He has championed many initiatives to continue to put Express in a position for
further growth while balancing the direct oversight of the Sales department and strategic
oversight for the entire organization. Beginning Monday, August 26, Ryan will assume a new
role as the Chief Executive Officer for Express Stores. This new role will allow him to focus
his energy and leadership on taking Express Stores to the next level. Ryan's passion for an
Employee First culture will remain unwavering as he leads the company's strategic growth
initiatives and continues to find new ways to make Express Stores an even greater place to
work!

  

p : Phil joined Express in May of 2014 as the Vice President of Operations. In 2017,
Phil was promoted to Senior Vice President of Operations. During his time with Express, Phil
has overseen the growth of the operations team to include Operations Manager support for
each market, multiple layers of leadership within the department, the evolution of the Loss
Prevention team, and the addition of entirely new departments such as the Reporting and
Analytics team. Phil has been an invaluable asset to the operational side of our business during
his tenure with Express. On Monday, August 26, Phil will assume a new role as Chief
Operations Officer. In this new capacity, Phil will continue to oversee the Operations of the
business, focusing on new possibilities to develop relevant, more efficient processes and
procedures for more streamlined operations to support and protect the company assets.

 

Ken Siller: Express Stores is pleased to welcome Ken to the Express family as Chief Revenue
Officer. Ken brings with him over 12 years of experience in the Telecom industry, dating back
to a start in 2007. He has lead sales teams in T-Mobile and other large partners driving
tremendous results and is excited to bring that expertise to Express. Ken understands and
values people and is looking to use his passion and experiences to continue to build on our
Employee First culture. Ryan Warner previously worked with Ken and has said, "Ken is one of
the best leaders | have ever had the pleasure of working with, and | am excited about the
potential for Express under his leadership." Ken is a father of four and resides in Buffalo,

NY. In his spare time, he is an avid snowmobiler. We look forward to all that Ken will bring to
Express to take our sales teams to the next level as he begins his new position on Monday,
August 26.

Andrea Sealey
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Director of Communications and Employee Development
Express Stores | 158 Tices Lane, East Brunswick NJ 08816

p 757-232-7735 | e Andrea.Sealey@T-Mobile.com |

Connect with Us:

  

 

= x p re S S “We are a team of dynamic wireless leaders
that cultivate success through integrity and

” — the commitment to exceed customer
expectations lo deliver exceptional results”

 

       

 

 

 

 

 
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EXHIBIT 2
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EXHIBIT 3
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EMPLOYMENT AGREEMENT

THIS EMPLOYMENT AGREEMENT (the Agreement”) is made and entered into as of
December 1, 2016 (the "Effective Date") by and between TCC WIRELESS, LLC, a Delaware

limited liability company (the "Company"), and KENNETH SILLER ("Executive").
RECITALS:

A. The Company is engaged in the business of operating wireless phone retail stores and
the sale of wireless phones, accessories and related products and services, as the Company
determines from time to time (all such activities and services provided by the Company and any
and all other businesses and operations in which the Company may hereafter engage are
collectively hereinafter referred to as the “Business”) to various individual and company

customers of the Company (collectively, the “Customers”).

 

B. The Company wishes to employ Executive as the Company's Senior Vice President-
Sales and Marketing and desires to enter into an agreement with him setting forth the terms of

such a relationship.

C. Executive has the knowledge, experience and expertise to serve in such capacity and
desires to accept such employment with the Company on the terms and subject to the conditions

set forth below.

AGREEMENTS:

NOW, THEREFORE, for good and valuable consideration, the receipt and adequacy of
which are hereby acknowledged, the parties agree as follows:

1. Employment. Subject to the terms, covenants and conditions set forth in this
Agreement, the Company hereby agrees to employ Executive as the Company’s Senior Vice
President-Sales and Marketing, and Executive hereby accepts employment with the Company as
its Senior Vice President-Sales and Marketing.

2. Term. Subject to the termination provisions set forth in Section 5 below, the term
of Executive’s employment with the Company under this Agreement shall commence on the
Effective Date and shall continue until the first anniversary of the Effective Date (the "Initial
Term”). At the conclusion of the Initial Term and any Renewal Term (as defined below)
thereafter, and unless terminated earlier, this Agreement shall automatically extend for an
additional one (1) year period, unless either party gives the other party written notice at least 60
days prior to the end of the then-current term of such party's intention not to renew this
Agreement for the following annual period (each a "Renewal Term" and, collectively with the

Initial Term, the "Term").

 

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3. Capacity and Performance. Throughout the Term of this Agreement:

(a) Executive shall serve the Company as its Senior Vice President-Sales and
Marketing on a full-time basis and shall perform such acts, duties and responsibilities
consistent with his position on behalf of the Company, as are customarily done and
performed by individuals holding such position in companies in similar businesses and of
similar size to the Company, and such other duties as may be designated from time to
time by the Company’s Chief Executive Officer or Chief Financial Officer, to whom the
Executive shall regularly report. The expenditure of reasonable amounts of time by
Executive for personal, charitable or investment activities shall not be deemed a breach of
this Agreement, provided that such activities do not interfere with the services required to
be rendered by Executive under this Agreement and are not contrary to the interests of the

Company.

(b) Executive shall devote his full business time and his reasonable best
efforts, business judgment, skill and knowledge exclusively to the advancement of the
business and interests of the Company and to the discharge of his duties and
responsibilities hereunder.

4. Compensation and Benefits. As compensation for all services performed by
Executive under this Agreement and during the Term:

(a) Base Salary. As compensation for the services to be performed under this
Agreement, the Company shall pay to Executive, during the Term, an annual salary (the
“Base Salary”) at the rate of $245,000.00 per annum, less applicable deductions, payable
in accordance with the Company’s usual payroll practices.

(b) Monthly Performance Bonus. For each calendar month, commencing with
December 2016, Executive shall be eligible to receive a monthly performance bonus (a
“Performance Bonus”) as follows:

i. Executive shall receive a Performance Bonus in the amount set forth on
the attached Schedule A corresponding to the applicable Traffic
Conversion Percentage for such month (for purposes hereof, “Traffic
Conversion Percentage” means the traffic conversion percentage for the
Company on a consolidated basis as reported by T-Mobile’s Sharepoint
System).

ii. In addition to any Performance Bonus eared under subsection i. above,
Executive shall receive a $2,500 Performance Bonus for each month in
which the Company achieves at least 125% of the Key Sales Objectives

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No. 1 (KSO #1) established by T-Mobile for such month (as determined
by T-Mobile through its DCS system and final commission report for such
month) and Executive shall receive a $2,500 Performance Bonus for each
month in which the Company achieves at least 125% of the Key Sales
Objectives No. 2 (KSO #2) established by T-Mobile for such month (as
determined by T-Mobile through its DCS system and final commission

report for such month).

iii. Any earned Performance Bonus shall be paid in accordance with the
Company’s usual bonus/commission pay practices (typically within 60
days after the end of the calendar month for which the Performance Bonus

was earned).

iv. Executive must be employed by the Company on the payment date to
receive any Performance Bonus.

(c) One-Time Signing Bonus. The Company shall pay Executive a one-time

signing bonus of $120,000.00, which shall be payable in equal quarterly increments of
$30,000.00 (less applicable deductions) within fifteen (15) days after the beginning of
each calendar quarter occurring in 2017.

(d) Paid Vacation Off. During the Term, Executive shall be entitled to four
weeks of paid vacation off annually, to be taken at such times and intervals as shall be
determined by Executive, subject to the reasonable business needs of the Company.

(e) Business Expenses. During the Term, the Company shall pay or reimburse
Executive for reasonable, customary and necessary business expenses incurred or paid by
him in the performance of his duties and responsibilities hereunder, subject to such
reasonable substantiation and documentation as may be specified by the Company from

time to time.

(f) Other Benefits. During the term hereof, Executive shall be entitled to
participate in any and all employee benefit plans generally available from time to time to
senior management level employees of the Company (and for which Executive qualifies
under the terms of the plans). The Company may alter, modify, terminate, add to or
discontinue the employee benefit plans that are from time to time in effect for its
employees generally at any time as it, in its sole judgment, determines to be appropriate,

without recourse by Executive.

5. Termination.

(a) Termination upon Death or Disability. Executive's employment under this
Agreement shall terminate automatically upon Executive's death or if Executive becomes
Disabled. For purposes of this Agreement, Executive shall be deemed to be “Disabled” if
Executive becomes unable to perform the essential functions and responsibilities of his

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position with reasonable accommodation, as required under the Americans with
Disabilities Act, as the same has and may be amended (the "ADA"), by virtue of physical

or mental disability, as defined under the ADA.

(b) Termination by the Company for Cause. During the Term, the Company
may immediately terminate this Agreement for “Cause.” For purposes of this Agreement,
“Cause” shall mean, in each case as determined by the Company:

i. Executive’s material breach of any of the terms, provisions or
covenants contained in this Agreement which, after written notice from
the Company of such breach, has not been cured within thirty (30) days

after he receives such notice;

ii.  Executive’s conviction of or plea of guilty or nolo contendere to a
felony, misdemeanor or other crime that either (A) involves moral]
turpitude, dishonesty, fraud, theft, embezzlement, or financial
impropriety or (B) provides for a term of imprisonment;

iii. Executive's commission of any act or omission constituting
misappropriation, unethical business conduct, disloyalty or breach of
fiduciary duty which is injurious to the Company, the specific nature of
which shall be set forth in a written notice by the Company to

Executive;

iv. Executive’s failure to adequately perform his duties, or failure to
follow the reasonable instruction of the Company, which after written
notice from the Company of such failure. has not been cured within
thirty (30) days after he receives such notice;

y.  Executive’s misappropriation of funds or assets of the Company; or

vi. Executive fails to earn any Performance Bonus during a period of at
least three (3) months in any consecutive twelve (12) month period.

(c) Termination by Executive for Good Reason, Executive may terminate his
employment for Good Reason provided that (i) Executive has provided the Company
with thirty (30) days’ prior written notice setting forth in reasonable detail the basis for
such Good Reason and (ii) the Company has not cured the Good Reason within such
thirty (30) day period, in which case the Termination Date shall be the 30" day after
Executive gave such notice The following shall constitute “Good Reason” for

termination by Executive:

 

i. A material reduction of the Base Salary; or

ii. The material removal or diminution of the authority, responsibilities

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or duties of Executive (other than any such authorities, duties or
responsibilities assigned at any time which are by their nature, or
which are identified at the time of assignment, as being temporary or
short term).

No condition enumerated in the preceding sub-sections (i) and (i!) will be deemed
to be Good Reason unless within 30 days of the initial existence of such condition, the
Executive will have given the Company written notice thereof specifically describing the
condition giving rise to Good Reason and allowing the Company a period of 30 days
from the date of receipt of the notice to remedy such condition; and provided further,
however, in no event will a condition give rise to Good Reason hereunder unless, within
60 days after the initial existence of such condition, the Executive wil] have actually
terminated his employment with the Company by giving written notice of resignation for
failure of the Company to remedy such condition.

(d) Termination under other Circumstances. During the Term, either the
Company or the Executive may voluntarily terminate this Agreement upon thirty (30)
days’ advance written notice to the other party for any reason or no reason whatsoever; it
being understood that Executive's employment is at-will.

6. Effect of Termination of Employment.

(a) Upon the termination of this Agreement for any reason, the Executive
shall be entitled to, and the Company shall pay Executive, an amount equal to: (i) any
earned but unpaid Base Salary covering the period of employment prior to the effective
date of termination; and (ii) unreimbursed business expenses pursuant to Section 4 above.
Except as otherwise specified in this Section 6(a) or Section 6(b) below, Executive shall
not be entitled to any other compensation or benefits upon the termination of his
employment with the Company for any reason whatsoever.

(b) If Executive is terminated by the Company without Cause or if Executive
terminates his employment for Good Reason, then, subject to Executive signing and
delivering to the Company (and not revoking) a general release in favor of the Company,
in substantially the form attached hereto as Exhibit A, within 30 days following
presentation thereof, and provided that Executive complies with the covenants set forth in
Sections 7, 8, 9 and 12 below, in addition to the payments and benefits described in
Section 6(a), the Company shall continue to pay Executive, in accordance with the
Company’s regular payroll practice, Executive’s Base Salary for twelve (12) months, less
applicable deductions (the “Severance Compensation”); provided, however, that: (i) the
first payment of the Severance Compensation pursuant to this Section 6(b) shall be paid
on the 60" day following Executive's termination of employment and shal} include any
amounts due prior thereto, and (ii) if Executive is terminated by the Company without
Cause or if Executive terminates his employment for Good Reason prior to December 1,
2017, then the Severance Compensation shall only be paid for the balance of the Initial
Term. For the avoidance of doubt, the Executive shall not be entitled to the payments

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under this Section 6(b), if the Executive’s employment is terminated as a result of the
Executive’s death, if the Executive becomes Disabled, if the Company terminates the
Executive’s employment for Cause, or if the Executive voluntarily terminates his
employment with the Company without Good Reason.

7. Restrictive Covenants.

 

(a) Terms. The Company and Executive acknowledge and agree that for
Executive to compete with the Company during the time the Executive is employed by
the Company, and for a limited time thereafter, would be contrary to the purposes for
which the parties entered into this Agreement. In order to induce the Company to enter
into this Agreement, Executive covenants, warrants and agrees, for the benefit of the
Company, its parents, subsidiaries, successors and assigns (collectively, the "Protected
Parties”), that without first obtaining the express written consent of the Company, which
may be granted or withheld in the Company's sole and absolute discretion, Executive
shall not, either directly or indirectly:

i. during the period commencing on the Effective Date and ending upon the
expiration of one (1) year from the date that Executive ceases to be employed
by the Company or any of its Affiliates for any reason (the “Covenant
Period”), engage, or compete with any Protected Party, in the Business, or any
facet of the Business anywhere within the United States of America, as an
employee, independent contractor or otherwise;

ii. during the Covenant Period, have any ownership interest in (whether as a
shareholder, partner, member, associate, owner or otherwise), make any loan
to or investment in, any corporation, partnership, limited liability company,
association, trust, firm or other enterprise which is engaged in, or competes
with, any Protected Party in the Business, or any facet of the Business,
anywhere within the United States of America; provided, however, that
notwithstanding the foregoing, Executive may invest in any publicly-held
corporation engaged in the Business, if his aggregate investment does not
exceed one (1%) percent in value of the issued and outstanding capital stock
of such corporation;

iii. during the Covenant Period, divert from any Protected Party, or by aid of
others, do anything which would cause diversion from any Protected Party, of
any business with any Customer or supplier with which such Protected Party
has any contact or association in connection with the Business; or

iv. during the Covenant Period, solicit, induce or attempt to induce, either directly
or indirectly, any employee or independent contractor of any Protected Party,
(A) to change his, her or its contractual relationship with any Protected Party,
(B) to leave the employment of or terminate his, her or its contractual
relationship with any Protected Party, or (C) enter into the employ of or a

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contractual relationship with Executive, any entity in which Executive has any
interest whatsoever, or any competitor of any of the Protected Parties.

(b) Executive Representations, Executive hereby represents and warrants to
the Company that Executive is not in breach of any existing covenant not to compete,
nonsolicitation agreement, confidentiality agreement or other substantially similar
agreement, nor will Executive be in breach of any such agreement as a result of his
employment with, or performance of services for, the Company.

(c) Enforcement. The covenants set forth in this Section 7 shall be a series of
separate covenants, one for each and every state, county and other municipal division
within the United States of America. The covenants set forth in this Section 7 are
reasonable and valid in geographical and temporal scope and in all other respects. If any
court determines that any covenant set forth in this Section 7, or any portion of any such
covenant, is invalid or unenforceable, the remainder of the covenants set forth in this
Section 7 shall not be affected and shall be given full force and effect, without regard to
the invalid covenant or the invalid portion. If any court determines that any covenant set
forth in this Section 7, or any portion of any such covenant, is unenforceable because of
its duration or geographic scope, such court shall have the power to reduce such duration
or scope, as the case may be, and to enforce such covenant or portion in such reduced
form. The Company and Executive confer jurisdiction to enforce the covenants set forth
in this Section 7 on the courts of any jurisdiction within the geographical scope of such
covenants. If the courts of any one or more of such jurisdictions hold the covenants set
forth in this Section 7, or any portion of any such covenant, unenforceable by reason of
the breadth of such scope or otherwise, such determination shall not bar or in any way
affect the right of any of the Protected Parties to the relief provided in the courts of any
other jurisdiction within the geographical scope of such covenants as to breaches of such
covenants in such other respective jurisdictions.

8. Intellectual Property Rights.

(a) Assignment of Inventions. Executive recognizes that he may, individually
or jointly with others, discover, conceive, make, perfect or develop inventions,
discoveries, new contributions, concepts, ideas, developments, processes, formulas,
methods, compositions, techniques, articles, machines and improvements, and all original
works of authorship and all related know-how, whether or not patentable, copyrightable
or protectable as trade secrets for and on behalf of the Company pursuant to this
Agreement ("Inventions"). Executive agrees that all such Inventions are the sole and
exclusive property of the Company, all to the extent any such Inventions are capable of
ownership under applicable law. EXECUTIVE AGREES THAT ANY PARTICIPATION
BY HIM IN A COPYRIGHTABLE WORK IS A WORK MADE FOR HIRE, AS
DEFINED IN TITLE 17, UNITED STATES CODE, TO THE EXTENT PERMITTED
BY LAW FOR THE SOLE AND EXCLUSIVE BENEFIT OF THE COMPANY AND
EXECUTIVE HEREBY ASSIGNS TO THE COMPANY ALL OF HIS RIGHTS IN
AND TO SUCH INVENTIONS. Executive shall maintain adequate and current written

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records of all Inventions, which shall remain the property of the Company, as applicable
and be available to the Company at all times. At the Company's request Executive shall
promptly sign and deliver all documents necessary to vest in the Company, all right, title
and interest in and to any Inventions. If the Company is unable, after reasonable effort, to
secure Executive's signature on any document needed to vest in the Company all right,
title and interest in and to any Inventions, whether because of Executive's physical or
mental incapacity or for any other reason whatsoever, Executive hereby irrevocably
designates and appoints the Company and its duly authorized officers and agents as
Executive's agent and attorney-in-fact, to act for and in Executive's behalf and stead to
execute and file any such document and to do all other lawfully permitted acts to further
the prosecution and enforcement of patents, copyrights or similar protections with the
same legal force and effect as if executed by Executive.

(b) Third Party Intellectual Property, Executive hereby represents and
warrants that he is not a party or subject to any agreements or other arrangements
protecting the trade secrets or other intellectual property of any third-party.

9. Confidentiality. In order to facilitate the provision of Executive's services to the
Company under this Agreement, the Company has disclosed and will disclose information it
considers proprietary and confidential. This information may include, without limitation: (a)
business, financial, marketing and operational plans; (b) forecasts and projections; (c) sales plans
and data; (d) information which relates to the Company's proprietary products, prototypes, or
plans; (e) customer lists and information; (f) the Company's listing information; and (g) other
information whether or not identified as confidential of a confidential and non-public nature
(collectively, "Confidential Information"); provided, however, that Confidential information shall
not include any information: (x) prior to the Effective Date, was generally publicly available; (y)
becomes publicly available without fault of or action on the part of Executive; or (z) is acquired
by Executive following the cessation of his employment with, or as a member of, the Company
from a third party (other than a Protected Party), free of any restrictions as to its disclosure. In
connection therewith, the parties agree that:

 

(a) Executive agrees to hold the Confidential Information in the strictest
confidence. Executive will not disclose the Confidential Information to any third party.

(b) Executive will not, at any time, use the Confidential Information in any
fashion. form, or manner, except to facilitate the provision of services by Executive on
behalf of the Company.

(c) Confidential Information may not be copied or reproduced without the
Company's prior written consent.

(d) Confidential Information shall at all times remain the sole property of the
Company. Executive shall have no license, ownership rights, or any other rights or
interests in the Confidential Information. Confidential Information disclosed by the
Company, including copies thereof, shall be returned to the Company by Executive upon

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request by the Company; provided, however, that upon termination of this Agreement,
Executive shall return any Confidential Information within ten (10) days of such
termination, without any request by the Company being necessary or required.

10. Specific Performance. In the event of a breach or attempted breach of any of the
covenants set forth in Section 7, Section 8 or Section 9, in addition to any and all legal and
equitable remedies immediately available, such covenants may be enforced by a temporary
and/or permanent injunction. The parties agree that the remedy at law for a breach or threatened

breach of any of the covenants set forth in Section 7, Section 8 or Section 9 would be inadequate.

11. Key Man Insurance. Executive agrees that the Company may obtain a “key man”
life insurance policy on Executive’s life, at the Company’s sole expense and with the Company
as the sole beneficiary thereof. Executive shall (1) cooperate fully with the Company in obtaining
such life insurance, (ii) sign any necessary consents, applications and other related forms or
documents, and (iii) take any required medical examinations.

12. Cooperation. Following termination of the Executive’s employment for any
reason, at the request of the Company, (i) the Executive shall, during the three month period
following termination of employment, (A) cooperate with the Company in transitioning his
duties and activities on behalf of the Company to one or more executives of the Company, and
(B) provide information and other assistance relating to the business operations and activities of
the Company to representatives of the Company, as requested by the Company; and (ii) the
Executive shall cooperate with the Company in connection with any litigation or regulatory
matters in which the Executive may have relevant knowledge or information. The Company
shall reimburse the Executive for the reasonable expenses and costs incurred by him in
connection with such cooperation and assistance.

13. Indemnification. Subject to limitations imposed by law, the Company shall
indemnify and hold harmless Executive to the fullest extent permitted by law from and against
any and all claims, damages, expenses (including reasonable attorneys’ fees), judgments,
penalties, fines, settlements, and all other liabilities actually and reasonably incurred or paid by
him in connection with the investigation, defense, prosecution, settlement or appeal of any
threatened, pending or completed action, suit or proceeding, whether civil, criminal,
administrative or investigative and to which Executive was or is a parly or is threatened to be
made a party by reason of the fact that Executive is or was an officer, employee or agent of the
Company, or by reason of anything done or not done by Executive in any such capacity or
capacities, provided that Executive complied with his obligations under this Agreement,
Executive acted in good faith, in a manner that was not grossly negligent or constituted willful
misconduct and in a manner he reasonably believed to be in or not opposed to the best interests
of the Company, and, with respect to any criminal action or proceeding, had no reasonable cause
to believe his conduct was unlawful. The Company also shall pay any and all expenses
(including reasonable attorney's fees) incurred by the Executive as a result of the Executive being
called as a witness in connection with any matter involving the Company and/or any of its
officers or managers.

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14. Notices, All notices, requests, consents and other communications, required or
permitted to be given under this Agreement shall be personally delivered in writing or shall have
been deemed duly given when received after it is posted in the United States mail, postage
prepaid, registered or certified, return receipt requested addressed as set forth below. In addition,
a party may deliver a notice via another reasonable means that results in the recipient party
receiving actual notice, as conclusively demonstrated by the party giving such notice.

 

If to the Company:

TCC Wireless, LLC

565 Randy Road

Carol Stream, Illinois 60188
Email: jay@tccmobile.com

Fax:
Attn; Mr. Javed Malik

If to Executive:

Kenneth Siller

10535 Keller Road
Clarence, New York 1403]
Email: ksiller@hotmail.com
Fax:

15. Miscellaneous.

(a) The failure of any party to enforce any provision or protections of this
Agreement shall not in any way be construed as a waiver of any such provision or
provisions as to any future violations thereof, nor prevent that party thereafter from
enforcing each and every other provision of this Agreement. The rights granted the
parties herein are cumulative and the waiver of any single remedy shall not constitute a
waiver of such party’s right to assert all other legal remedies available to it under the

circumstances.

(b) This Agreement has been executed in, and shall be construed and
enforced in accordance with the laws of the State of Illinois, without regard to the
conflict of law rules of such state. The state and federal courts sitting in the state of
Illinois shall have exclusive jurisdiction over any and all disputes arising out of or
relating to this Agreement. Each party to this Agreement irrevocably and unconditionally
(i) consents to the exclusive jurisdiction of such courts in respect of any action, suit or
proceeding arising out of or relating to this Agreement, (ii) waives any defense of lack of
personal jurisdiction in such courts in respect of any action, suit or proceeding arising out
of or relating to this Agreement, and (iii) waives any objection to the laying of venue of
any action, suit or proceeding arising out of or relating to this Agreement.

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(c) The provisions of this Agreement are severable and if anyone or more
provisions may be determined to be iNegal or otherwise unenforceable, in whole or in
part, the remaining provisions and any partially unenforceable provision to the extent
enforceable in any jurisdiction nevertheless shall be binding and enforceable.

(d) This Agreement sets forth the entire understanding and agreement of
Executive and the Company with respect to its subject matter and supersedes al! prior
understandings and agreements, whether written or oral, in respect thereof. No
modification, termination or attempted waiver of this Agreement shall be valid unless in
writing and signed by the party against whom the same is sought to be enforced.

(e) The rights and obligations of Company under this Agreement shall inure
to the benefit of, and shall be binding on, Company and its successors and assigns. This
Agreement is personal to Executive and he may not assign his obligations under this
Agreement in any manner whatsoever and any purported assignment shall be void. For
all purposes under this Agreement, the term "Company" shal] include any successor to
Company's business and/or assets that assume the Company's rights and obligations
under this Agreement.

(f) The headings and captions used in this Agreement are for convenience of
reference only and shall not be considered in interpreting this Agreement.

(g) Each party expressly represents and warrants to each other that: (i) before
executing this Agreement, such party has fully informed itself of the terms, contents,
conditions and effects of this Agreement; (ii) such party has relied solely and completely
upon its own judgment in executing this Agreement, (iii) such party has been advised to
and has had the opportunity to seek the advice of counsel before executing this
Agreement; (iv) such party, whether or not it chose to seek the advice of counsel, has
acted voluntarily and of its own free will in executing this Agreement, (v) such party,
whether or not it chose to seek the advice of counsel, is not acting under duress, whether
economic or physical, in executing this Agreement; and (vi) and such party, if it chose
not to seek the advice of counsel, shall not raise any claims against the enforcement of
this Agreement that arise from its decision not to do so.

(h) This Agreement may be executed in any number of counterparts, each of
which shall be deemed an original and all of which together shall constitute one and the
same document. and copies (facsimile, photostatic, electronic or otherwise) of signatures
to this Agreement shall be deemed to be originals and may be relied upon to the same
extent as though such copy, fax or electronically transmitted signature was an original.

(i) Any payments provided for in this Agreement shall be paid net of any
applicable income tax withholding required under federal, state or local law.

16. Survival. Sections 6, 7, 8, 9, 10, 12 and 13 will survive and continue in full force
in accordance with their terms notwithstanding any termination of this Agreement.

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17. Section 409A. It is intended that this Agreement will be exempt from, or comply,
with Section 409A of the Internal Revenue Code of 1986, as amended (the “Code”) and any
regulations and guidelines promulgated thereunder (collectively, “Section 409A”), and the
Agreement shall be interpreted on a basis consistent with such intent. No action or failure to act
pursuant to this Section 17 shall subject the Company to any claim, liability, or expense, and the
Company shall not have any obligation to indemnify or otherwise protect Executive from the
obligation to pay any taxes, interest or penalties pursuant to Section 409A. Notwithstanding any
provision to the contrary in this Agreement, if Executive is deemed on the date of his “separation
from service” (within the meaning of Treas. Reg. Section 1.409A-1(h)) with the Company to be a
“specified employee” (within the meaning of Treas. Reg. Section 1.409A-1(i)), then with regard
to any payment or benefit that is considered deferred compensation under Section 409A payable
on account of a “separation from service” that is required to be delayed pursuant to Section
409A(a\(2)(B) of the Code (after taking into account any applicable exceptions to such
requirement), such payment or benefit shall be made or provided on the date that is the earlier of
(3) the expiration of the six (6)-month period measured from the date of Executive’s “separation
from service,” or (ii) the date of Executive’s death (the “Delay Period”). Upon the expiration of
the Delay Period, all payments and benefits delayed pursuant to this Section 17 (whether they
would have otherwise been payable in a single sum or in installments in the absence of such
delay) shall be paid or reimbursed to Executive in a lump sum and any remaining payments and
benefits due under this Agreement shall be paid or provided jn accordance with the normal
payment dates specified for them herein. Notwithstanding any provision of this Agreement to the
contrary, for purposes of any provision of this Agreement providing for the payment of any
amounts or benefits upon or following a termination of employment that are considered deferred
compensation under Section 409A, references to Executive’s “termination of employment” (and
corollary terms) with the Company shall be construed to refer to Executive’s “separation from
service” (within the meaning of Treas. Reg. Section 1.409A-1(h)) with the Company. Whenever
payments under this Agreement are to be made in installments, each such installment shall be
deemed to be a separate payment for purposes of Section 409A.

[Signatures on following page]

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IN WITNESS WHEREOF, the parties have executed this Employment Agreement as of

the day and year first above written.

COMPANY:

TCC WIRELESS, LLC, a Delaware limited liability
company

Oe Awe

Print Name: _\JaVvEQ ATAGK
Its: CEO

EXECUTIVE:

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[Signature Page to Employment Agreement]

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Exhibit A
Form of Release

For good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, Kenneth Siller (“Executive”) hereby delivers this Release (“Release”) to TCC
Wireless, LLC, a Delaware limited liability company (the “Employer”) in connection with the
termination of Executive’s employment with Employer and its subsidiaries. Capitalized terms
used but not otherwise defined herein shall have the meaning ascribed to such terms in that
certain Employment Agreement dated as of December 1, 2016, by and between Employer and

Executive (the “Employment Agreement”).

1. Executive Release of Rights. Except for the payments to be made following the
Termination Date to Executive pursuant to Section 6 of the Employment Agreement, Executive
(defined for the purpose of this Section 1 as Executive and Executive’s agents, representatives,
attorneys, assigns, heirs, executors, and administrators) fully and unconditionally releases
Employer, its subsidiaries and each of its respective past or present employees, agents, insurers,
attorneys, administrators, officers, directors, shareholders, members, managers, parents,
predecessors, successors, employee benefit plans, and the sponsors, fiduciaries, or administrators
of Employer’s employee benefit plans (collectively, the “Released Parties”) from, and agrees not
to bring any action, proceeding, or suit against any of the Released Parties regarding, any and all
liabilities, claims, demands, actions, causes of action, suits, grievances, debts, sums of money,
agreements, promises, damages, back and front pay, costs, expenses, attomeys’ fees, and
remedies of any type, from the beginning of time to the date hereof, including, without limitation,
any liability arising or that may have arisen out of or in connection with Executive’s employment
with, or termination of employment from, Employer, including, but not limited to, claims,
actions or liabilities under (1) Title VII of the Civil Rights Act of 1964, the Civil Rights Act of
1991, the Civil Rights Act of 1866, the Age Discrimination in Employment Act, the Americans
with Disabilities Act, the Fair Labor Standards Act, the Family and Medical Leave Act, the
Worker Adjustment and Retraining Notification Act, the Older Workers Benefit Protection Act,
and the Employee Retirement Income Security Act of 1974; (2) any other federal, state or local
statute, ordinance, or regulation regarding employment, termination of employment, or
discrimination in employment, and (3) the common law of any state relating to employment
contracts, wrongful discharge, defamation, or any other matter, provided, however, that
Executive is not releasing, and is not agreeing to forego bringing any action, suit or proceeding
regarding (A) any claim that cannot be legally released, (B) any claim based upon any vested
benefits Executive may have under any employee welfare benefit plan of Employer or its
subsidiaries, or (C) any of his rights under this Release.

 

 

 

2. Waiver of Reinstatement. Executive waives any reinstatement or future
employment with Employer or its subsidiaries and agrees never to apply for employment or
otherwise seek to be hired, rehired, employed, re-employed, or reinstated by Employer or any of
its subsidiaries.

3. Severability. The provisions of this Release shall be severable and the invalidity
of any provision shal} not affect the validity of the other provisions; provided, however, that upon
a finding by a court of competent jurisdiction that any release in Section 1 above is illegal, void

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or unenforceable, Executive agrees to execute promptly a release and covenant that is legal and
enforceable.

4, Governing Law. This Release shall be governed by and construed in accordance
with the laws of the State of Illinois without regard to conflicts of laws principles that would
cause any state’s laws, other than the laws of the State of Illinois, to apply.

5. Scope of Release. Executive understands that he remains bound to those
provisions in his Employment Agreement that survive the termination of his employment in

accordance with Section 7, 8 and 9 thereof. Except as specifically set forth in such provisions,

this Release contains the entire agreement and understanding between Executive and Employer
concerning the matters described herein, and supersedes all prior agreements, discussions,
negotiations, understandings and proposals of the parties. The terms of this Release cannot be
changed except in a subsequent document signed by both parties.

6. Revocation Period. Executive has the right to revoke this Release solely with
regard to his release of claims under the Age Discrimination in Employment Act and the Older
Workers Benefit Protection Act for up to seven (7) days after he signs it. In order to revoke this
Release, Executive must sign and send a written notice of the decision to do so, addressed to
Employer, and that written notice must be received by Employer no later than the eighth (8'") day
after Executive signed this Release. If Executive revokes this Release, Executive will not be
entitled to any consideration from Employer described in Section 6 of the Employment

Agreement.

7. Knowing and Voluntary Waiver. Executive acknowledges that:

a. Executive has carefully read this Release and fully understands its
meaning;

b. Executive had the opportunity to take up to 21 days after receiving this
Release to decide whether to sign it;

c. Executive understands that Employer is hereby advising him, in writing, to
consult with an attorney before signing it,

d. Executive is signing this Release, knowingly, voluntarily, and without any
coercion or duress; and

e. Everything Executive is receiving for signing this Release is described in
the Employment Agreement or this Release and no other promises or
representations have been made to cause Executive to sign it.

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IN WITNESS WHEREOTF, Executive has executed this Release as of the date below.

EXECUTIVE:

Dated: __// [sollp Le

   

 

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SCHEDULE A

Traffic Conversion Bonus

 

 

 

 

 

 

 

 

 

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Traffic Conversion Percentage Performance Bonus
Less than 9% 0

At Jeast 9% but less than 10% $5,000.00

At least 10% but less than 10.5% $7,500.00

At least 10.5% but less than 11% $12,000.00

At least 11% but less than 11.5% $15,000.00

At least 11.5% but less than 12% $17,500.00

At least 12% $20,000.00

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EXHIBIT 4
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From: Andrea Sealey <asealey@expmgnt.com>
Date: Tuesday, August 20, 2019 at 8:57 AM

To: Andrea Sealey <asealey@expmgnt.com>
Subject: IMPORTANT Organizational Announcement

[External]

 

 

 

 

August 20, 2019

At Express, we are committed to the continued growth of our employees and the company as a
whole. We are always looking for new ways to bring both our employees and our company to
the Next Level while not losing sight of our Employee First initiatives. It is in the spirit of
continued growth and positioning ourselves to be in the best spot for potential expansion that
Express Stores is excited to announce the following organizational changes that will go into
effect on Monday, August 26, 2019.

  

Ryan Warner: Ryan has been with Express since joining as the Vice President of Sales in
2012. In 2017, Ryan was promoted to Chief Operating Officer, leading the way through multiple
growth and expansion opportunities while overseeing the day to day operations of the
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company. He has championed many initiatives to continue to put Express in a position for
further growth while balancing the direct oversight of the Sales department and strategic
oversight for the entire organization. Beginning Monday, August 26, Ryan will assume a new
role as the Chief Executive Officer for Express Stores. This new role will allow him to focus
his energy and leadership on taking Express Stores to the next level. Ryan's passion for an
Employee First culture will remain unwavering as he leads the company's strategic growth
initiatives and continues to find new ways to make Express Stores an even greater place to
work!

  

Phil Speiser: Phil joined Express in May of 2014 as the Vice President of Operations. In 2017,
Phil was promoted to Senior Vice President of Operations. During his time with Express, Phil
has overseen the growth of the operations team to include Operations Manager support for
each market, multiple layers of leadership within the department, the evolution of the Loss
Prevention team, and the addition of entirely new departments such as the Reporting and
Analytics team. Phil has been an invaluable asset to the operational side of our business during
his tenure with Express. On Monday, August 26, Phil will assume a new role as Chief
Operations Officer. In this new capacity, Phil will continue to oversee the Operations of the
business, focusing on new possibilities to develop relevant, more efficient processes and
procedures for more streamlined operations to support and protect the company assets.

 

Ken Siller: Express Stores is pleased to welcome Ken to the Express family as Chief Revenue
Officer. Ken brings with him over 12 years of experience in the Telecom industry, dating back
to a start in 2007. He has lead sales teams in T-Mobile and other large partners driving
tremendous results and is excited to bring that expertise to Express. Ken understands and
values people and is looking to use his passion and experiences to continue to build on our
Employee First culture. Ryan Warner previously worked with Ken and has said, "Ken is one of
the best leaders | have ever had the pleasure of working with, and | am excited about the
potential for Express under his leadership." Ken is a father of four and resides in Buffalo,

NY. In his spare time, he is an avid snowmobiler. We look forward to all that Ken will bring to
Express to take our sales teams to the next level as he begins his new position on Monday,
August 26.

Andrea Sealey
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Director of Communications and Employee Development
Express Stores | 158 Tices Lane, East Brunswick NJ 08816
p 757-232-7735 | e Andrea.Sealey@T-Mobile.com |

 

 

Connect with Us:

 

Express

  

 

“We are a team of dynamic wireless leaders
that cultivate success through integrity and
the commitment to exceed customer
expectations to deliver exceptional results”

 

 

 

 

 
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EXHIBIT 5
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JAFFE RAITT HEUER & WEISS

§ Payfesional Cuperation
27777 FRANKLIN ROAD, SUITE 2500 * SOUTHFIELD, MICHIGAN 48034-8214

PHONE 248.351.3000 * FAX 248.351.3082
www, laffelaw.com

Patrice S. Arend
parend@jaffelaw.com

August 21, 2019
Kenneth Siller
10535 Keller Road via email:ksiller@hotmail.com, First Class
Clarence, NY 14031 Mail, Certified Mail and Federal Express

Re: Notice and Demand to Cease and Desist and to Comply with terms of TCC
Wireless’ Employment Agreement

Dear Mr. Siller:

This firm is counsel to TCC Wireless, LLC (“TCC Wireless”), your former employer.
When you were hired by TCC Wireless on or about December 1, 2016 as its Senior Vice President
of Sales and Marketing, you signed an Employment Agreement, You recently voluntarily
terminated your employment with TCC Wireless on August 5".

In your resignation email, you asserted, among other things, that you were improperly paid
commissions under your Employment Agreement. As you know, you are not paid commissions
on amounts referenced on Share Point, which are internal, directional T-Mobile figures based upon
gross activations. When you raised this issue in 2016, TCC Wireless informed you that the
commissions for which you now seek compensation were not commissionable; commissions are
paid on net conversions, not gross activations. Indeed, no one at TCC Wireless receives
commissions on these amounts, which is consistent with standards in the industry. In fact, your
Employment Agreement makes specific reference to the “conversion percentage.” You accepted
that explanation and made no further mention of these commissions until your resignation email,
effectively waiving any argument or claim relating to them. As a gesture of goodwill, TCC
Wireless nevertheless reviewed your TBC rates in your workbook, which did not match the TBC
totals in your supporting documentation. When correcting for the actual TBC numbers appearing
in your supporting documentation, the calculation shows, at best, an unpaid amount of $73,500.
Without waiving any defenses to any claim relating to your entitlement to the same, TCC Wireless
is sending to you a check in that amount, less applicable deductions and withholdings. As it relates
to future commissions, such payments are contingent on your active employment with TCC
Wireless on the date payments are made. In light of your resignation, you are not entitled to any
commissions relating to payments to be made in August or September 2019.
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As it relates to your claim for PTO time, we have determined based on your last day of
employment of August 5, 2019, you had accrued a total of 95.48 hours of PTO time in 2019, of
which you used 80 hours. Included in your final check will be pay equivalent to 15.48 hours of
accrued but unused PTO time, less applicable withholdings.

TCC Wireless recently learned that you intend to work for Express Stores as its Chief
Revenue Officer. You are reminded your post-employment obligations to TCC Wireless are still
in effect. In the Employment Agreement, you agreed, among other things, not to work for a
competitor for one-year after your employment with TCC Wireless ends. Your employment with
Express Stores would be in direct violation of the non-compete obligations in your Employment
Agreement.

TCC Wireless has further learned that you owned a T-Mobile retail store during your
employment with TCC Wireless, in direct contravention of the terms of and your obligations under
your Employment Agreement.

In your Employment Agreement, you further agreed, among other things, not to induce or
attempt to induce, either directly or indirectly, any employee of TCC Wireless to end his/her
employment or business relationship with TCC Wireless for a period of 12 months following your
termination of employment. The Employment Agreement also contains restrictions on your use
of confidential TCC Wireless information, and requires you to return all such information and
other property upon termination of employment.

TCC Wireless expects its former employees to abide by the terms of the Employment
Agreement and its restrictive covenants, as well as any statutory and common law obligations.

Furthermore, you agreed to notify any subsequent employer of your obligations under the
Employment Agreement. As a courtesy, TCC Wireless has copied your current employer on this
letter to put it on notice of the Employment Agreement and your obligations thereunder, and allow
it to support your compliance with your post-employment obligations and to cease any activities
that would induce you or any other TCC Wireless employee to violate their respective
Employment Agreements or any other applicable law protecting TCC Wireless and its business.

TCC Wireless demands that you cease and desist any activities in breach of your
contractual, statutory and common law obligations to TCC Wireless. It will take whatever action
it deems necessary to protect its legitimate business interests, including relationships with
customers and employees and confidential information. TCC Wireless has authorized this firm to
take all necessary legal actions to enforce the Employment Agreement, including seeking court
involvement for injunctive relief and monetary damages from you if you choose not to comply.
We hope that such actions will not be necessary.
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This letter does not purport to be a complete statement of all facts, claims or remedies, or

a waiver of any of them, all of which are expressly reserved. Should you have any questions, feel
free to contact me.

Very truly yours,

Jaffe, Raitt, Heuer & Weiss
Professional Corporation

 

Patrice S. Arend

CC: Ed Rosero (Via email: erosero@expmgnt.com and first class mail)
Express Stores

158 Tices Lane
East Brunswick, NJ 08816

Eric Tarasievich (via email)
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Return Date: No return date scheduled
Hearing Date: 12/27/2019 10:00 AM - 10:00 AM
Courtroom Number: 2410

room Nur FILED
Location: District 1 Court 8/29/2019 1:08 PM
Cook County, IL IN THE CIRCUIT COURT OF COOK COUNTY DOROTHY BROWN

COUNTY DEPARTMENT, CHANCERY DIVISION CIRCUIT CLERK

COOK COUNTY, IL
TCC WIRELESS, LLC, a Delaware +) 2019CH10028

limited liability company,
6383252

Plaintiff, Case No.: 2019 CH 10028

Vv.

KENNETH SILLER, an individual,

New Sew Snare! Nee” Some Some” Name Sense”

Defendant.

TCC WIRELESS LLC’S VERIFIED EMERGENCY MOTION
FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

FILED DATE: 8/29/2019 1:08 PM 2019CH10028

Plaintiff TCC WIRELESS, LLC moves this Honorable Court pursuant to 735 ILCS
§ 5/11-101 of the Illinois Code of Civil Procedure for the entry of a temporary restraining order
and preliminary injunction against Defendant Kenneth Siller. In support of its motion, TCC
Wireless has filed a memorandum of law, which memorandum is incorporated herein.

WHEREFORE, Plaintiff TCC Wireless respectfully requests that this Court enter an
order:

(A) Granting Plaintiff TCC Wireless, LLC’s motion;

(B) Entering an injunction temporarily and preliminarily prohibiting Defendant during
the period ending August 5, 2020 from working for any competitor of TCC Wireless, LLC,
including Express Stores, in the following states: Connecticut, Florida, Georgia, Illinois,
Indiana, lowa, Massachusetts, New York, New Jersey, Ohio, Pennsylvania, Rhode Island, South
Carolina, and Wisconsin, and any other state in which TCC Wireless may engage within the
restrictive period;

(C) _ Entering an injunction temporarily and preliminarily prohibiting Defendant during

the period ending August 5, 2020 from soliciting, inducing or attempting to induce, either

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directly or indirectly, an employee or independent contractor of TCC Wireless, LLC to change
his, her or its contractual relationship with TCC Wireless or to enter into the employ of or a
contractual relationship with Defendant, or an entity in which Defendant has an interest, or of
any competitor of TCC Wireless, LLC;

(D) Entering an injunction temporarily and preliminarily prohibiting Defendant during
the period ending August 5, 2020 from diverting from TCC Wireless, LLC, or by aiding others,
doing anything which would cause diversion from TCC Wireless, of any business with any past
or present customer or supplier of TCC Wireless, LLC with whom Defendant had any contact or
learned of during his employment;

(E) Entering an injunction temporarily and preliminarily prohibiting Defendant from
using or disclosing any of TCC Wireless, LLC’s Confidential Information; and

(F) | Awarding such other and further relief that TCC Wireless may be entitled, to the

extent permitted by applicable law, including its costs.

Date: August 29, 2019 Respectfully submitted,
TCC WIRELESS, LLC
By:___/s/ Louis J. Phillips

Louis J. Phillips

Patzik, Frank & Samotny Ltd. (Firm ID: 35160)
200 South Wacker Drive, Suite 2700

Chicago, IL 60606

(312) 551-8300

Iphillips@pfs-law.com

Patrice S. Arend (IL. 6228772)
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Southfield, MI 48034
248.351.3000
parend@jaffelaw.com

Attorneys for TCC Wireless, LLC

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